Case 2:17-cr-00206-JAK Document 48-1 Filed 09/12/18 Page 1 of 65 Page ID #:173




                 EXHIBIT A
2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                  Filed 09/12/18 Page 2 of 65 Page ID #:174




                                 Tre­Von M. King                                                                   Follow        Message



                                    Timeline       About        Friends           Photos         More



   Follow Tre­Von to get his public posts in your News Feed.                                                                              Follow

                          5,250 Followers




                                                                   Tre­Von M. King
                                                                   1 hr · 

                                                         Join
                                                                 Tre­Von M. King         BOOTLEG MOVIES
                                                                 2 hrs · 

                                                                 EVERYBODY JOIN



                                                            Like             Comment             Share

                                                         20 people like this.

                                                                Sara­kate Leathers Roger Palmer
                                                                Like · Reply · 1 hr
                                                                Roger Palmer HAHAHA this isn't going to last very long
                                                                Like · Reply ·     4 · 1 hr
                                                                Roger Palmer Greg Lewis
                                                                Like · Reply · 1 hr
                                                                Tre­Von M. King Lmao
                                                                Like · Reply ·     1 · 1 hr

                                                                Roger Palmer Greg, this dude has a full fuckin video of Deadpool on his fuckin
                                                                facebook
                                                                Like · Reply ·     1 · 1 hr

                                                                Jimmy Mulay All the people talking shit saying they hope or want to see him get
                                                                arrested ­ work for media or entertainment. They don't like the idea of their cozy
                                                                job being endangered. They're the same people that talk shit because "flipping
                                                                a hamburger ain't hard... See More
                                                                Like · Reply ·     2 · 54 mins
                                                                       Dylan Paddison I don't work for the media or entertainment. This dude
                                                                       needs to get arrested. The less money the movie makes the lower
                                                                       chance of another one, and this guy has lost the movie tons and tons of
                                                                       money doing this.
                                                                       Like · Reply ·    2 · 34 mins

                                                                       Jimmy Mulay You realize that point is mute considering they made
                                                                       $500 million already (enough to make a sequel by current hollywood
                                                                       standards and projections)
                                                                       Like · Reply · 33 mins
                                                                      View more replies

                                                                                                                                        TMPID00011
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                  Filed 09/12/18 Page 3 of 65 Page ID #:175

                                                           Write a reply...


                                                         Jimmy Mulay "Michaela Anne Have fun in jail you fucking moron." ­ worked at
                                                         Dipson Theaters. Nah bitch you wasn't ripping people off to pay for the shit you
                                                         own. Oh wait, yeah you was.
                                                         Like · Reply ·    1 · 53 mins
                                                              Michaela Anne Actually, I had no control or interaction with the movie
                                                              aspect. The only crime I'm guilty of is giving people extra large popcorns
                                                              with extra butter while knowing each bucket contains over 6000 calories.
                                                              But okay broski.
                                                              Like · Reply ·      1 · 36 mins
                                                              Jimmy Mulay So you were like the bitch girl to these media outfits?
                                                              Like · Reply · 21 mins
                                                             View more replies

                                                               Write a reply...


                                                         Tre­Von M. King                   myyy nigga is flamin everybody negative, he the
                                                         real hero
                                                         Like · Reply ·    1 · 51 mins
                                                         Jimmy Mulay To anyone that can't handle it ­ it's because Tre­Von is real.
                                                         Something the media will never be.
                                                         Like · Reply ·    1 · 50 mins
                                                         Tre­Von M. King ^ a true homie, and I don't even know himὊ
                                                         Like · Reply · 49 mins
                                                         David Oyse Troll
                                                         Like · Reply ·    1 · 41 mins

                                                         Greg Clayton Jimmy is trying to get his Jimmy sucked by Tre­Von, he's
                                                         commenting on every post thinking hes gangsta lol.
                                                         Like · Reply ·    4 · 37 mins
                                                              Tre­Von M. King Why result to gay shit
                                                              Like · Reply ·      1 · 36 mins
                                                              Jimmy Mulay ^Because he clearly has something better to say
                                                              Like · Reply ·      1 · 12 mins

                                                               Write a reply...


                                                         Jimmy Mulay You know I'm really not racist but after reading these comments
                                                         today I'm ashamed to be grouped with the people who share the color of my
                                                         skin. All these white people hiding behind the law saying he's going to get
                                                         arrested just say what you really want... See More
                                                         Like · Reply ·    1 · 37 mins
                                                         Jimmy Mulay "Greg Clayton : Gansta" ­ "Carl Vannest : old hood";"homeboys"
                                                         Like · Reply ·    1 · 35 mins
                                                              Tre­Von M. King 
                                                              Like · Reply · 34 mins

                                                               Write a reply...


                                                         Jimmy Mulay What do you guys really want to say?
                                                         Like · Reply · 35 mins

                                                         John Corral It doesn't matter if he is white or black or asian or puerto rican. Its
                                                         people like you jimmy that turn issues that are not race related into race related
                                                         arguments.
                                                         Like · Reply ·    5 · 30 mins
                                                              Jimmy Mulay I turned it into one because I was the one that started
                                                              using racist comment? You made this same comment to someone that
                                                              pointed the same thing out like 2 hours ago dude. You work in
                                                              entertainment. I get it. You're not racist, you're protecting you're interests.
                                                              Like · Reply · 23 mins
                                                              Jimmy Mulay It doesn't mean the people calling him the racist names
                                                              aren't racist. That's pretty anecdotal.
                                                              Like · Reply · 16 mins
                                                             View more replies

                                                               Write a reply...

                                                                                                                                      TMPID00012
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                  Filed 09/12/18 Page 4 of 65 Page ID #:176

                                                          William Millard Jimmy Mulay stop kissing ass, you have got to be one of the dumbest
                                                          people I've seen on here. Quit talking big when you got a damn creeper from Minecraft
                                                          as your profile pic.
                                                          Like · Reply ·       2 · 28 mins

                                                                              William Millard replied · 7 Replies · 12 mins

                                                                Jimmy Mulay If it's not race related why all the race shit? Why not understand
                                                                the media is 99% of the race problem?
                                                                Like · Reply · 26 mins

                                                                Britney Kalk I don't dislike this because the kid is black, he probably is a cool
                                                                guy. I dislike this because I did do work on this film. You're taking money away
                                                                from the low people. The people who swept floors and placed trees in the right
                                                                angle. The people who b... See More
                                                                Like · Reply ·       4 · 14 mins · Edited

                                                                Chris Williams Aye on sum rs good look on that shit. I ain't trippin I saw
                                                                deadpool for free 
                                                                Like · Reply · 17 mins

                                                                   Write a comment...



                                                                   Suwop Mollyboy HalloweenGang                      Tre­Von M. King
                                                                   1 hr · 

                                                         A bro im rocking with the ya dig so how could I add the group and fuck dem
                                                         just of bitlnch of white dumbass kids wit nun to do but look for copyrights


                                                         Tre­Von M. King likes this.

                                                                Tre­Von M. King I just share my page
                                                                1 hr



                                                                   Tre­Von M. King
                                                                   2 hrs · 

                                                         I Just Started A New Group Called "Bootleg Movies"     Go Look It Up And
                                                         Join ​
                                                              #I​
                                                                fYouFuckWithMe ​ #F
                                                                                  ​uckWitItὊ That's Where I'm Post More Movies,
                                                         That's Coming Out.

                                                            Like              Comment                  Share

                                                         117 people like this.

                                                         1 share

                                                                Brittany Bailey I can't find it. Send it to me plz
                                                                Like · Reply ·       1 · 2 hrs
                                                                Danyal Habib Waqas Anwer
                                                                Like · Reply ·       1 · 2 hrs
                                                                       Danyal Habib Absar Azhar
                                                                       Like · Reply · 2 hrs

                                                                        Write a reply...


                                                                J.b. Grimes I want to join
                                                                Like · Reply ·       1 · 2 hrs

                                                                Yair Mejia Cruz Hook it up the link brua
                                                                Like · Reply ·       1 · 2 hrs
                                                                Danyal Habib I wanna watch batman vs superman
                                                                Like · Reply ·       2 · 2 hrs
                                                                Carter Shadwell Basically an online confession, don't be surprised if you get a
                                                                visitor
                                                                Like · Reply ·       13 · 2 hrs
                                                                       Steven Bowers When
                                                                       Like · Reply · 1 hr

                                                                        Write a reply...
                                                                                                                                             TMPID00013
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                  Filed 09/12/18 Page 5 of 65 Page ID #:177
                                                         Jay Jay Terwilliger ??
                                                         Like · Reply · 2 hrs
                                                         Anthony Ransaw What the name of it
                                                         Like · Reply ·    1 · 2 hrs

                                                         Tre­Von M. King "Bootleg Movies"
                                                         Like · Reply ·    1 · 2 hrs

                                                             1 Reply

                                                         Jason Maddox Someone going to catch a case 5 years have fun with that
                                                         Like · Reply ·    15 · 2 hrs
                                                         Eric Gross Lol have fun in prison when the MPAA comes after you...
                                                         Like · Reply ·    8 · 2 hrs

                                                         Garrett Robb You just love building a case don't you
                                                         Like · Reply ·    3 · 2 hrs

                                                         Sean Dalton A reminder.




                                                         Like · Reply ·    20 · 2 hrs
                                                         Sean Dalton You'll realize how bad you'll wish it didn't go viral.




                                                         Like · Reply ·    21 · 2 hrs
                                                              Sean Dalton Take notice, it mentions nothing about profit. You're
                                                              depriving profit from the studio. I'd say roughly $20Mil now. 

                                                              Imagine you made an album, I copied it from you, but I made nothing
                                                              from it because I gave it to everyone for free. (On the flip
                                                              side,... See More
                                                              Like · Reply ·      4 · 2 hrs · Edited
                                                              Sammy Hijazin It's already viral 
                                                              Like · Reply · 2 hrs
                                                             View more replies

                                                               Write a reply...


                                                         So Hair FBI will go after you soon, good luck
                                                         Like · Reply ·    3 · 2 hrs

                                                         Joshua StockMarket Yeah you will proably get in trouble but still add me
                                                         please
                                                         Like · Reply · 2 hrs
                                                         Rayshawn Farmer Bro take this down real talk online is not the way to go with
                                                         bootlegs especially on Facebook like serious take it down
                                                         Like · Reply ·    8 · 2 hrs
                                                         Jitmichael Makaveli Songsamayvong Why y'all tripping, just be happy you can
                                                         watch it lol
                                                         Like · Reply ·    2 · 2 hrs · Edited
                                                              Jason Maddox Bc it's highly illegal and how would u like it if you was
                                                              working for free ?
                                                              Like · Reply ·      4 · 2 hrs
                                                              Charlie Lewis Hopefully it does.... I'd rather people actually go watch it.
                                                              Even at $1 a piece, that $3,000,000 this movie just lost in box office
                                                              income means the sequel has a chance at not being as good. They
                                                              made a badass movie on a super low budget. Why screw th... See More
                                                              Like · Reply ·      8 · 2 hrs
                                                                                                                                   TMPID00014
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                  Filed 09/12/18 Page 6 of 65 Page ID #:178
                                                             View more replies

                                                               Write a reply...


                                                         Yair Mejia Cruz Always trynna put a nigga down smh 
                                                         Like · Reply ·    3 · 2 hrs
                                                              John Corral Yeah cause its always a race thing. Dumbass
                                                              Like · Reply · 2 hrs

                                                              Jaque Miles John Corral I don't think he meant it in that sense. It's
                                                              always someone who wants to pull the "race card" card.
                                                              Like · Reply ·      2 · 1 hr

                                                               Write a reply...


                                                         Brice Long My niggas....be careful lol bro re­upload this with a fake account and
                                                         delete this post. Like now...just advice
                                                         Like · Reply ·    1 · 2 hrs
                                                              Joaquin Rivera lmao its too late
                                                              Like · Reply ·      1 · 2 hrs
                                                              Brice Long No proof if they delete the whole post and all posts talking
                                                              about it
                                                              Like · Reply · 2 hrs
                                                             View more replies

                                                               Write a reply...


                                                         BooGene DntBlow Hating ass Mfs y'all act like he making money off this shit
                                                         Like · Reply ·    2 · 2 hrs
                                                              Brice Long It don't matter if they making money off of it bootleg movies
                                                              are illegal and using a direct line to yourself to do it....well....think about...
                                                              Like · Reply · 2 hrs
                                                              BooGene DntBlow Get off dude Dick             He saved me moneyὊ keep
                                                              Dropping em
                                                              Like · Reply · 2 hrs
                                                             View more replies

                                                               Write a reply...


                                                         Icyclenyc Raul bro all these people are stressing you man very,very much
                                                         lmaooo            ὠὠὠὠὠὠὠὠ you'll be fine trust no FBI WILL look for you
                                                         fuck they care you posted a bootleg movie lmaoo
                                                         Like · Reply ·    1 · 2 hrs
                                                              Mack Teel Actually they care a lot. 4 milliom views at 7$ a movie ticket,
                                                              thats 28 million dollars in revenue lost. Would you care?
                                                              Like · Reply · 2 hrs
                                                              Icyclenyc Raul idk man I really dont care and you shouldn't either bro is
                                                              free, no worries you know, fuck it just let it be.
                                                              Like · Reply · 2 hrs
                                                             View more replies

                                                               Write a reply...


                                                         Mack Teel A fake account woulda been better to post but no fucks lol
                                                         Like · Reply · 2 hrs

                                                         Jimmy Mulay Like this comment if you came here because the comments on
                                                         the movie were going to fast!
                                                         Like · Reply ·    4 · 2 hrs
                                                         Joaquin Rivera yo please update us with what happens legally and thanks for
                                                         the movie
                                                         Like · Reply ·    3 · 2 hrs
                                                         Joe Byrne 5 years federal prison. Huge fine. Have fun with this.
                                                         Like · Reply ·    6 · 2 hrs

                                                         Jeremy Rivers I want to join the group
                                                         Like · Reply ·    1 · 2 hrs
                                                         Eugene Williams That's what's up
                                                         Like · Reply ·    1 · 2 hrs

                                                                                                                                        TMPID00015
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                  Filed 09/12/18 Page 7 of 65 Page ID #:179

                                                         Demetrius Epps Put me in Fucc them.......
                                                         Like · Reply ·    2 · 1 hr

                                                               BooGene DntBlow Just enjoy the Fucking movieὊ Hating ass ppl mad cause
                                                               they didn't think about it
                                                               Like · Reply ·    3 · 1 hr
                                                                    Randy Hendricks Listen up boy it's because it's illegal and takes away
                                                                    from all of those who worked their asses off for over a year making that
                                                                    movie. Go take your ignorant monkey ass to the welfare line you feral
                                                                    savage.
                                                                    Like · Reply ·       1 · 1 hr
                                                                    BooGene DntBlow Get yo racist ass on. Nobody asked Yu to comment
                                                                    yo 2can.Sam looking ass. U the reason why white Mfs get robbed and
                                                                    beat in Chicago yall think y'all superior but y'all ain't shit
                                                                    Like · Reply ·       2 · 1 hr
                                                                   View more replies

                                                                      Write a reply...


                                                               Dat Kels Add me
                                                               Like · Reply ·    1 · 1 hr

                                                               JeLisa Burney It would be smart to not create this group. Especially on a social
                                                               media site.
                                                               Like · Reply ·    1 · 1 hr
                                                               Gabrielle K Neal Yay!!! Just watched ya deadpool movie thanks a lot!
                                                               Like · Reply ·    4 · 1 hr

                                                               Jesus Torres Jr. Where's the sign up sheet?
                                                               Like · Reply ·    3 · 1 hr
                                                               Tilia Mac You should probably start your Gofundme account now bc you will
                                                               probably need it to pay a shit ton of money ὤὤὤ
                                                               Like · Reply ·    11 · 1 hr
                                                                    BooGene DntBlow Stop Snitching Lil Bih
                                                                    Like · Reply · 1 hr
                                                                    Glenn Atkins Get y'all ratting asses out of here. Gonna be main ones
                                                                    watching it
                                                                    Like · Reply · 1 hr
                                                                   View more replies

                                                                      Write a reply...


                                                               Suwop Mollyboy HalloweenGang How do I find it the griuo
                                                               Like · Reply ·    1 · 1 hr
                                                               Suwop Mollyboy HalloweenGang Group and yall stop bein the police bitch ass
                                                               nigggas
                                                               Like · Reply ·    7 · 1 hr

                                                               Tre­Von M. King I'm fucking straight, why tf yall haters worried about MY LIFE
                                                               OR WHATS GONE HAPPEN TO ME
                                                               Like · Reply ·    9 · 1 hr
                                                                    Glenn Atkins I swear B. How I find the group family. Fuck all the haters
                                                                    ya dig
                                                                    Like · Reply ·       3 · 1 hr
                                                                    Cal Wal On life mfers dont have shit better to do but worry about the next
                                                                    man. Share the link and just delete the shit off yo page make the group
                                                                    private
                                                                    Like · Reply ·       1 · 1 hr
                                                                   View more replies

                                                                      Write a reply...


                                                               Jimmy Mulay Why do people get off on wanting to see Tre­Von get taken
                                                               down? Nothing better to do? A part of the movie crew? LMFAO might as well
                                                               suck em' all while you're at it. Bunch of sticks. They made $500 million already
                                                               and don't get taxes like other high pro... See More
                                                               Like · Reply ·    1 · 1 hr
                                                                    Ian Jones You're an idiot...yet if it was your movie and lost the money of
                                                                    4m people you wouldnt care right...not to mention the theaters that loss

                                                                                                                                        TMPID00016
                                                                    money, the people that lose hours but whatever fuck hard working

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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                  Filed 09/12/18 Page 8 of 65 Page ID #:180
                                                              people
                                                              Like · Reply ·      1 · 1 hr
                                                              Jimmy Mulay Hard working people making movies? I guess you should
                                                              really define hard working. Please, I would love to hear it.
                                                              Like · Reply · 1 hr
                                                             View more replies

                                                               Write a reply...


                                                         Krystal May When I look up bootleg movies the page doesn't pop up.. Can you
                                                         fix that?
                                                         Like · Reply ·    1 · 1 hr

                                                         Tre­Von M. King Its public, I don't know what you want me to fix?
                                                         Like · Reply ·    1 · 1 hr
                                                              Krystal May Thank you for putting yourself out there btw
                                                              Like · Reply ·      2 · 1 hr

                                                               Write a reply...


                                                         Krystal May It won't show when I search for it.. So I didn't know if Facebook took
                                                         it down already
                                                         Like · Reply ·    1 · 1 hr

                                                         Cory Friesen Thanks for posting the video Lmao! If you sit with the video
                                                         comments open they never stop haha!!
                                                         Like · Reply ·    1 · 1 hr
                                                         Eric Galarza Kimberly Sanchez check it out free movies bruh lol
                                                         Like · Reply · 1 hr
                                                         Gabrielle K Neal Idk y everyone wasting they time to tell him to take it down y'all
                                                         must have nothing else to do with y'all life I mean most y'all don't know each
                                                         other from a hole in a wall so if he wants to post it he can how does anyone
                                                         even know he really posted it... See More
                                                         Like · Reply ·    2 · 1 hr
                                                              Petrius M Vart Damn str8!!
                                                              Like · Reply ·      1 · 17 mins

                                                               Write a reply...


                                                         Krystal May Tre­Von can you post your bootleg page link?
                                                         Like · Reply ·    1 · 1 hr
                                                              Tre­Von M. King Yeah hold up
                                                              Like · Reply · 1 hr
                                                              Krystal May Yessir
                                                              Like · Reply ·      1 · 1 hr
                                                             View more replies

                                                               Write a reply...


                                                         EL Onehundred Can't find it
                                                         Like · Reply ·    1 · 1 hr
                                                              Tre­Von M. King Hold up
                                                              Like · Reply · 1 hr

                                                               Write a reply...


                                                         Rush Ken W I want in the group
                                                         Like · Reply · 1 hr

                                                         Ashley Nicole I can't find the group either!!
                                                         Like · Reply · 1 hr
                                                         Ruben De La Torre




                                                                                                                                   TMPID00017
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                  Filed 09/12/18 Page 9 of 65 Page ID #:181
                                                         Like · Reply ·     7 · 1 hr
                                                              Cody Whittaker This is the best think I've ever seen haha
                                                              Like · Reply ·       1 · 1 hr
                                                              Cody Whittaker thing* shiiiiit haha
                                                              Like · Reply ·       1 · 1 hr

                                                                Write a reply...


                                                         Don H. Dunn So if you're all about the money ,then why are you so broke you
                                                         can't afford a movie ticket ???
                                                         Like · Reply ·     4 · 1 hr
                                                              JeLisa Burney This is perfect 
                                                              Like · Reply · 1 hr
                                                              Lorin Gamble I can afford a shit load of tickets to any movie but I don't
                                                              feel like getting up fuck it IMA watch it on my phone
                                                              Like · Reply ·       2 · 1 hr
                                                             View more replies

                                                                Write a reply...


                                                         Don H. Dunn Typical of idiot Millennials who thinks everything is free
                                                         Like · Reply ·     6 · 1 hr
                                                              Enrique Jr Rodriguez Haaaaaa!!!
                                                              Like · Reply · 1 hr

                                                              Josh Godbout Don't condemn a whole generation on the actions of a
                                                              few cmon now
                                                              Like · Reply · 43 mins
                                                             View more replies

                                                                Write a reply...


                                                         Chris Doose Its ghetto as shit..........yall
                                                         Like · Reply ·     1 · 1 hr · Edited
                                                         Angela Palazzo Looks like your baby will be visiting you in prison. #goals
                                                         Like · Reply ·     6 · 1 hr
                                                         Ian Jones Yet if this was your movie you be pissed someone bootlegged it and
                                                         4m people watched it for free...times that by 10 to 15 dollars for a ticket
                                                         normally...huge revenue loss but hey whatever fuck the millions that went into
                                                         making such an epic movie that... See More
                                                         Like · Reply ·     5 · 1 hr
                                                              Enrique Jr Rodriguez I already paid my ticket to see it wich means I can
                                                              watch it for free again 
                                                              Like · Reply · 1 hr

                                                              Ian Jones When you buy it on blu ray or dvd sir...again respect goes a
                                                              long ways in this world which is why this generation is making the movie
                                                              Idocracy look like a documentary 
                                                              Like · Reply · 1 hr

                                                                Write a reply...


                                                         Jamie Fretwell Send me some links I can't find Shyt good online
                                                         Like · Reply · 1 hr
                                                         Lorin Gamble Bet bro
                                                         Like · Reply ·     1 · 1 hr

                                                         Robert Hernandez Add me bruh
                                                         Like · Reply · 1 hr
                                                         Bre Frazier And all the white ppl say " have fun, the police will be coming" .
                                                         Nigga im cookin dope on shaw and 1st sendem here . In better terms. DONT
                                                         NOBODY GIVA FUK.
                                                         Like · Reply ·     1 · 57 mins
                                                              John Corral I'm sure you are going to go far.
                                                              Like · Reply ·       4 · 37 mins

                                                                Write a reply...


                                                         Alexis McCreary My only concern is sorry if I offend you I'm not trying to. But I
                                                         saw you have a baby on the way. People really get arrested for these things for

                                                                                                                                   TMPID00018
                                                         real it's a felony charge. Your child that's all I'm saying I have four of my own.

https://www.facebook.com/trevon.franklin.33?fref=photo                                                                                          8/64
2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 10 of 65 Page ID #:182
                                                                And I couldn't be with ... See More
                                                                Like · Reply ·    3 · 56 mins
                                                                      Tre­Von M. King Thanks
                                                                      Like · Reply ·      1 · 53 mins

                                                                      Alexis McCreary You're very welcome.
                                                                      Like · Reply ·      1 · 49 mins

                                                                       Write a reply...


                                                                Jo L Jackson Too many add me to it don't know what page urs. A couple ofem
                                                                say dat title.
                                                                Like · Reply · 44 mins
                                                                Michael Gaylor Can't find it send me invite
                                                                Like · Reply · 32 mins

                                                                Jason Lewis I'm a screenwriter, hope you get sued and then prison drilled
                                                                Like · Reply ·    3 · 26 mins
                                                                Colton Randall Unsigned artist (Kid Smitty) out of Detroit freestyling for Crooked
                                                                I Slaughter House Shady Records
                                                                https://m.facebook.com/story.php...
                                                                Like · Reply · 20 mins

                                                                Michael Bennett Add me please... And ty
                                                                Like · Reply · 19 mins

                                                                  Write a comment...



                                                                  Matthew Glover             Tre­Von M. King
                                                                  3 hrs · 

                                                         ​A
                                                         # ​NewUpComingArtist
                                                         #C
                                                         ​ ​heckMeOut&
                                                         #G
                                                         ​ ​iveMeALikeOnBothOfMyPages
                                                         www.reverbnation.com/MrThr33
                                                         www.Facebook.com/RealDealMrNeil




                                                            Share

                                                         3 people like this.



                                                                  Tre­Von M. King shared his video.
                                                                  3 hrs · 

                                                                                                                                         TMPID00019
https://www.facebook.com/trevon.franklin.33?fref=photo                                                                                                9/64
2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 11 of 65 Page ID #:183
                                                         Much appreciated yall Ὂ




                                                                                                                            ­3:04


                                                         4,699 Views

                                                           Tre­Von M. King with Deiquan Easter and 6 others.
                                                           January 30 at 12:35pm · 

                                                           *WATCH* My video,some shit i wrote called "City Of $ins"

                                                            Like               Comment                 Share

                                                         8 people like this.

                                                         View 1 more comment
                                                                Tory Parks On god you real fam 
                                                                Like · Reply ·       1 · 3 hrs
                                                                Friday Heels McCarther I love it you ain't never lied about Fresno post it on
                                                                YouTube
                                                                Like · Reply ·       1 · 2 hrs

                                                                              Tre­Von M. King replied · 1 Reply

                                                                John Corral You can delete my comments all you want. But you cant delete
                                                                your shitty talent.
                                                                Like · Reply ·       2 · 1 hr

                                                                              Tre­Von M. King replied · 41 Replies · 1 hr

                                                                Robby Kilgore You obviously can't spit, so you must swallowὊ
                                                                Like · Reply · 29 mins

                                                                   Write a comment...



                                                                   Tre­Von M. King shared his video.
                                                                   3 hrs · 

                                                         Views going up           much appreciated




                                                                                                                                        TMPID00020
https://www.facebook.com/trevon.franklin.33?fref=photo                                                                                               10/64
2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 12 of 65 Page ID #:184




                                                         5,465 Views

                                                           Tre­Von M. King added a new video.                                 Follow
                                                           January 31 at 8:14pm · 

                                                           #L
                                                           ​​IKE ​
                                                                 #C
                                                                  ​OMMENT had to write a another oneὊὊὊὊ ​
                                                                                                         #I​
                                                                                                           fYouFuckWithMe ​
                                                                                                                          #F
                                                                                                                           ​uckWitIt

                                                            Like               Comment             Share

                                                         7 people like this.

                                                                   Write a comment...



                                                                   Tre­Von M. King
                                                                   3 hrs · 




                                                            Like               Comment             Share

                                                         32 people like this.

                                                         30 shares

                                                         View 12 more comments
                                                                Thomas Ciluffo When they said be there or be squared....
                                                                Like · Reply · 46 mins

                                                                Edgar Ociel Casarez Edgar Carlos
                                                                Like · Reply · 32 mins

                                                                Ivan Hernandez Karen Hernandez
                                                                Like · Reply · 29 mins

                                                                Karen Hernandez Ivan Hernandez lmao
                                                                Like · Reply ·      1 · 28 mins

                                                                              Karen Hernandez replied · 2 Replies · 9 mins


                                                                   Write a comment...
                                                                                                                             TMPID00021
https://www.facebook.com/trevon.franklin.33?fref=photo                                                                                    11/64
2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 13 of 65 Page ID #:185

                                                                    Shawn Lewis             Tre­Von M. King
                                                                    4 hrs · Fresno · 

                                                         Bro my friends in Oklahoma even watched your video                     Damn


                                                         Tre­Von M. King likes this.

                                                                Tre­Von M. King 
                                                                     1 · 4 hrs



                                                                    Tre­Von M. King
                                                                    5 hrs · 

                                                         Woke up to see DeadPool got 2.7 million views            damn Daniel! 
                                                         I see all these ppl talking the Feds gone get me, well where they at??? I'm
                                                         still going up

                                                            Like               Comment                  Share

                                                         254 people like this.

                                                         3 shares

                                                                Lorin Gamble I'm saying bro they hate but watching the movie and no cops
                                                                came good shit bro
                                                                Like · Reply ·      1 · 5 hrs
                                                                Kimmy Moore DAAAAMN DANIEL!!! 
                                                                Like · Reply ·      3 · 5 hrs

                                                                Andre Alves Yooooo hahahahah
                                                                Like · Reply ·      1 · 5 hrs
                                                                Bre Garza Thank u for my early morning entertainment... I give it two thumbs up 
                                                                         Have a blessed day!
                                                                Like · Reply ·      2 · 5 hrs
                                                                Luis Miguel Gonell I saved the video
                                                                Like · Reply ·      4 · 5 hrs
                                                                        Bre Garza Me too! 
                                                                        Like · Reply ·      1 · 5 hrs
                                                                        Luis Miguel Gonell It looks good
                                                                        Like · Reply · 5 hrs

                                                                         Write a reply...


                                                                Conceptualization Gibbs




                                                                Like · Reply ·      1 · 4 hrs
                                                                Oran Snelling People kill me saying someone is going to get fined, merked etc,
                                                                but say it AFTER they've checked out the quality of the movie first. You can't
                                                                point the finger and you pushed play your self. I'm not saying it was smart to do
                                                                but I will say it was genius! He's not the first and not the last. #newagepimping
                                                                Like · Reply ·      6 · 4 hrs

                                                                Tre­Von M. King All I did was upload it, as far as the shares, likes, and
                                                                comments I can't controll what people do on fb just what I do. So hate on the fact,
                                                                that I still dgaf about yall irrelevant ass individuals. 
                                                                #ThatPart
                                                                Like · Reply ·      5 · 4 hrs

                                                                Billy McCall Haters gonna hate. U the real MVP 
                                                                Like · Reply ·      2 · 4 hrs
                                                                        Tre­Von M. King 
                                                                        Like · Reply ·      1 · 4 hrs

                                                                         Write a reply...



                                                                                                                                         TMPID00022
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 14 of 65 Page ID #:186

                                                         Julian Mrmotionpikture Harvey Lol bro you a beast
                                                         Like · Reply ·    1 · 4 hrs

                                                               Julian Mrmotionpikture Harvey Watch this shit at work last night and didn't do
                                                               shit 
                                                               Like · Reply ·    2 · 4 hrs
                                                                    Douglas Hall Same           ὊὊ
                                                                    Like · Reply ·       1 · 3 hrs

                                                                      Write a reply...


                                                               Luis Miguel Gonell He did the vid in mint condition these Chinese ppl that be
                                                               selling movies be moving too much          Ὂ
                                                               Like · Reply ·    2 · 4 hrs

                                                               Bobby Joe Fawkes




                                                               Like · Reply ·    6 · 4 hrs
                                                               Tre­Von M. King Lmaooo that part
                                                               Like · Reply ·    3 · 4 hrs
                                                               Ricky Holland ὠὠὠ




                                                               Like · Reply ·    5 · 4 hrs
                                                               Eric Galarza Doug Dietz
                                                               Like · Reply · 4 hrs

                                                               Marty Jo Damn Daniel 
                                                               Like · Reply ·    1 · 4 hrs
                                                                    Tre­Von M. King 
                                                                    Like · Reply · 4 hrs
                                                                    Marty Jo Bruh turn your followers thing on that's how you get more ppl
                                                                    to share your stuff
                                                                    Like · Reply ·       1 · 4 hrs
                                                                   View more replies

                                                                      Write a reply...


                                                               Robert Manson They don't fuck around that's for sure
                                                               Like · Reply · 4 hrs

                                                               Nandagopala Moorali I didn't watch it. You can take it down now 
                                                               Like · Reply ·    2 · 4 hrs
                                                                    Tre­Von M. King Nah
                                                                    Like · Reply ·       1 · 4 hrs
                                                                    Nandagopala Moorali I hope you got that inside message 
                                                                    Like · Reply ·       2 · 4 hrs
                                                                   View more replies

                                                                      Write a reply...


                                                               Ricky Holland       Justin

                                                                                                                                      TMPID00023
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 15 of 65 Page ID #:187




                                                         Like · Reply ·    4 · 4 hrs · Edited
                                                              Sam Clay 
                                                              Like · Reply · 4 hrs

                                                               Write a reply...


                                                         Nyles Foster That's what I give the genius behind this post 




                                                         Like · Reply ·    1 · 4 hrs
                                                         Greg Zeller You're a fucking idiot, they're coming buddy just wait
                                                         Like · Reply ·    12 · 4 hrs
                                                              Prince Marco @ Greg Zeller is you mad bro???? Lol
                                                              Like · Reply ·      1 · 3 hrs
                                                              Dean Woodruff No he's like Me and just in awe that someone can be
                                                              this stupid. Nothing on Facebook is private.. it's just a matter of time he
                                                              gets caught and sent to prison for 10 years.... what don't yall get about
                                                              that. He is going to ruin his life (if not already... See More
                                                              Like · Reply ·      2 · 2 hrs

                                                               Write a reply...


                                                         Tre­Von M. King Waiting ....
                                                         Like · Reply ·    6 · 4 hrs
                                                              Prince Marco Greg Zeller is you mad bro lol ha haaaa
                                                              Like · Reply ·      1 · 3 hrs

                                                               Write a reply...


                                                         Luis Chavez I just watched this at work. And I was gonna watch this movie on
                                                         Friday night lmao!! You the Real MVP!! Ὂ
                                                         Like · Reply ·    1 · 4 hrs

                                                         Ricky Holland You can tell Justin Schainberg don't get pussy!!! ὠὠὠ
                                                         Like · Reply ·    3 · 4 hrs

                                                         Greg Zeller Lol keep waiting they'll be there. It's a felony. Which means at least
                                                         5 years. I hope it was worth your freedom
                                                         Like · Reply ·    5 · 4 hrs
                                                         Tre­Von M. King I blocked that, opp ass nigga for tryna tag FBI n shit
                                                         Like · Reply ·    4 · 4 hrs · Edited

                                                         Adam Reed Dammnnnn Sean Larkin
                                                         Like · Reply · 4 hrs

                                                         Britni Jones I think he gets the D...




                                                                                                                                    TMPID00024
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 16 of 65 Page ID #:188




                                                         Like · Reply ·    2 · 4 hrs
                                                              Tre­Von M. King Mouth all open n shit
                                                              Like · Reply ·      1 · 4 hrs
                                                              Britni Jones He's waiting for it hahaha
                                                              Like · Reply ·      1 · 4 hrs
                                                             View more replies

                                                               Write a reply...


                                                         Ricky Holland Lmmfao
                                                         Like · Reply ·    1 · 4 hrs

                                                         Julian Mrmotionpikture Harvey Yeah bro Tre­Von M. King in a hot second take
                                                         it down yourself because they snitching and them people will let this shit keep
                                                         building up to try to lock you up for this shit your the direct link and the white
                                                         folks mad they snitching hard I'm happy because you like Robbin hood robbing
                                                         from the rich giving to the poor but yeah take it down 
                                                         Like · Reply ·    3 · 4 hrs
                                                              Wesley Paugh Shit, I ain't mad at the man. Lol. That took some balls.
                                                              #respect
                                                              Like · Reply ·      1 · 4 hrs
                                                              Juanita Starr Walker Also white and could care less, I'm actually
                                                              entertained as hell with this shit. #BeingWhiteIsACrime 
                                                              Like · Reply ·      3 · 4 hrs
                                                             View more replies

                                                               Write a reply...


                                                         Nyles Foster Greg get yo ass on cry baby ass
                                                         Like · Reply ·    2 · 4 hrs
                                                         Will Schuster Yeah what you did can get you 3 years in jail. I'll give you like a
                                                         week bro 
                                                         Like · Reply ·    3 · 4 hrs
                                                              Dean Woodruff No 10 years in prison not jail....
                                                              Like · Reply ·      1 · 2 hrs
                                                              Will Schuster ^you sure? If so thanks for the correction. Learn
                                                              something new every day
                                                              Like · Reply · 1 hr

                                                               Write a reply...


                                                         Julian Mrmotionpikture Harvey Yeah bro they hating plus I don't want you to
                                                         get in trouble I need you for when batman vs superman come out lmao 

                                                         Like · Reply ·    12 · 4 hrs
                                                              Nandagopala Moorali 
                                                              Like · Reply · 4 hrs
                                                              Nandagopala Moorali U just made my day
                                                              Like · Reply ·      1 · 4 hrs · Edited
                                                             View more replies

                                                               Write a reply...


                                                         Tori GPnk Miller Well I applaud u for uploading it. Watched it at 1:30 this
                                                         morning. You rock sir. Thanks.
                                                         Like · Reply ·    1 · 4 hrs


                                                                                                                                   TMPID00025
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 17 of 65 Page ID #:189

                                                         Julian Mrmotionpikture Harvey Yeah these white folks on bullshit ^^^^
                                                         Like · Reply ·    1 · 4 hrs
                                                               Bella Gunz Why yall mad at him tho ? Is it YOUR MOVIE ? IS IT TAKING MONEY
                                                               OUT OF YOUR POCKET ? shut the fuck up already he made alot of people
                                                               happy . People who work and have lots of responsibilities but arent able to go
                                                               watch the movie (like myself) im currently in the process of downloading it off
                                                               facebopk cuz i know one of u cocksuxkers gonna dick ride so bad its gonna get
                                                               taken down
                                                               Like · Reply ·    6 · 4 hrs
                                                                    Greg Zeller Stupid bitch
                                                                    Like · Reply · 4 hrs
                                                                    Bella Gunz Your mothers a stupid bitch lmfaoooo
                                                                    Like · Reply ·       1 · 4 hrs
                                                                   View more replies

                                                                      Write a reply...


                                                               Julian Mrmotionpikture Harvey Dude a legend now but if he take it down make
                                                               his page private they might not link this shit to him because these white people
                                                               steaming right now they can't wait to see bro in trouble
                                                               Like · Reply ·    1 · 4 hrs
                                                                    Wesley Paugh Which is stupid. It's honestly no one else's business but
                                                                    his if they do come for him or not. It's not like it's affecting their lives
                                                                    Like · Reply · 4 hrs
                                                                    Wesley Paugh I'd just take Julian 's advice bro. I'd hate to see you in
                                                                    trouble for this.
                                                                    Like · Reply · 4 hrs
                                                                   View more replies

                                                                      Write a reply...


                                                               Steven Jackson Way to pull the race card ass hat...
                                                               Like · Reply ·    10 · 4 hrs
                                                               Julian Mrmotionpikture Harvey Y'all the ones mad fuck that white folks out
                                                               here reporting fast as hell lol
                                                               Like · Reply ·    4 · 4 hrs
                                                                    Steven Jackson Are you blind or stupid? People of every color are
                                                                    telling him to take it down... way to be a racist fuck boy and target the
                                                                    whites...
                                                                    Like · Reply ·       8 · 4 hrs
                                                                    Julian Mrmotionpikture Harvey Nope I see more angry white people
                                                                    look at the little white kid cursing the girl out dick face y'all mad as shit
                                                                    Like · Reply ·       2 · 4 hrs
                                                                   View more replies

                                                                      Write a reply...


                                                               Tim Conklin You gunna get that new batman and superman? 
                                                               Like · Reply ·    3 · 4 hrs
                                                                    Tre­Von M. King Wait on it, I got yall
                                                                    Like · Reply ·       3 · 4 hrs

                                                                      Write a reply...


                                                               John Shuttleworth My god. Learn how to bootleg. The worst quality I have ever
                                                               seen. You film that on a flip phone? I reported it just on fact of shitty quality
                                                               alone. Ha ha ha. Have fun in prison. Oh wait. You people like prison. Vacation!!!
                                                               Like · Reply ·    7 · 4 hrs
                                                                    Bella Gunz You people ??? Ok. Can YOU people stop shooting up
                                                                    churches and schools? Thanks
                                                                    Like · Reply ·       2 · 4 hrs
                                                                    John Shuttleworth Bet we've killed less people in mass shootings, then
                                                                    y'all have your own brothers in the streets. Over colors. But that's just
                                                                    me.
                                                                    Like · Reply ·       2 · 4 hrs
                                                                   View more replies

                                                                                                                                            TMPID00026
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 18 of 65 Page ID #:190
                                                           Write a reply...


                                                         Jadarius CL West Bruh just keep movies up fuck them folks
                                                         Like · Reply ·    2 · 4 hrs
                                                         Ryan McCann So your agreeing that the blacks promote crime? Thanks for that
                                                         Like · Reply ·    5 · 4 hrs
                                                              Britni Jones Whys it have to be blacks? I swear someone always
                                                              messes it up for everyone.
                                                              Like · Reply · 4 hrs

                                                              Ryan McCann Cause the gentleman said "i know white people mad
                                                              reporting this" lol.
                                                              Like · Reply ·      1 · 4 hrs
                                                             View more replies

                                                               Write a reply...


                                                         Bella Gunz Andy milonakis is MAD ASF 




                                                         Like · Reply ·    6 · 4 hrs
                                                              Wesley Paugh Omg I'm dying!!!
                                                              Like · Reply · 4 hrs
                                                              Nandagopala Moorali I was going to do the same....he comment on my
                                                              profile calling me fat ass. 
                                                              Like · Reply · 4 hrs
                                                             View more replies

                                                               Write a reply...


                                                         Ashley Lowe Thanks I didnt watch it either! Lol
                                                         Like · Reply ·    2 · 4 hrs
                                                         Aaron Scarborough Haha I love the racist comments. Always so quick to throw
                                                         the race card. Hahaha
                                                         Like · Reply · 4 hrs
                                                         Justin R Edsall It made it to michigan
                                                         Like · Reply ·    2 · 4 hrs
                                                              Wesley Paugh I'm in Georgia
                                                              Like · Reply · 4 hrs

                                                               Write a reply...


                                                         Aaron Scarborough Racist fucking piles of shit. Take some selfies




                                                         Like · Reply ·    2 · 4 hrs


                                                                                                                               TMPID00027
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 19 of 65 Page ID #:191

                                                         Bella Gunz ITS NOT ABOUT RACE. BUT ALL WE SEE ARE CAUCASIANS
                                                         REPORTING IT AND BEING MAD AS HELL ...
                                                         Like · Reply ·    1 · 4 hrs
                                                                    Aaron Scarborough Fuck you racist bitch. Take another selfie. You're
                                                                    scum. #fuckyourblacklivesmatyerbullshitalllivesmatter. You racist cunt
                                                                    Like · Reply · 4 hrs

                                                                    Aaron Scarborough




                                                                    Like · Reply · 4 hrs
                                                                   View more replies

                                                                      Write a reply...


                                                               Jesse Queen I DIDN'T save it to my computer, my tablet, my phone and my
                                                               usb!......thanks tho lol
                                                               Like · Reply ·    1 · 4 hrs
                                                               Nandagopala Moorali Didn't watched it all the way from Trinidad.....your viral 

                                                               Like · Reply · 4 hrs · Edited

                                                               Joshua Jones Good looking bro
                                                               Like · Reply · 4 hrs
                                                               Joshua Jones Ohio sin city
                                                               Like · Reply ·    1 · 4 hrs
                                                               Aaron Scarborough Racists
                                                               Like · Reply · 4 hrs
                                                               Aaron Scarborough




                                                               Like · Reply ·    1 · 4 hrs

                                                                    1 Reply

                                                               Tha Raw                         Ὂ
                                                               Like · Reply ·    1 · 4 hrs
                                                               Brandon McDeed I like the idea of what you did man, but seriously as a big hit
                                                               as this movie is and the knowingly doing copyright infrigement it's just a matter
                                                               of time. Best of luck bro
                                                               Like · Reply ·    4 · 4 hrs
                                                               Aaron Scarborough "We may have all come on different ships, but we're in the
                                                               same boat now." ­Martin Luther King Jr. 
                                                               Heed the words of the man himself you Fucking racist bitch
                                                               Like · Reply · 4 hrs · Edited

                                                                    1 Reply

                                                               Julian Mrmotionpikture Harvey Smdh mad as hell lol


                                                                                                                                        TMPID00028
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 20 of 65 Page ID #:192




                                                         Like · Reply ·    1 · 4 hrs
                                                         Tre­Von M. King 
                                                         Like · Reply ·    3 · 4 hrs
                                                         Jimmario Macon I just saved hella money          preciate that
                                                         Like · Reply ·    2 · 4 hrs
                                                         Kimmy Moore Dyinggggg 
                                                         Like · Reply ·    2 · 4 hrs

                                                         Tha Raw They police ass lol
                                                         Like · Reply ·    1 · 4 hrs

                                                         Julian Mrmotionpikture Harvey They are pissed
                                                         Like · Reply ·    1 · 4 hrs

                                                         Julian Mrmotionpikture Harvey Like its they movie they already made a couple
                                                         of billion already world wide lol
                                                         Like · Reply ·    1 · 4 hrs
                                                         Avinash Brian Dabideen On behalf of Trinidad, thanks for #deadpool. Can we
                                                         expect the same great service for #TMNT2 please?
                                                         Like · Reply ·    2 · 4 hrs
                                                              Tre­Von M. King Yesir will do
                                                              Like · Reply ·      1 · 4 hrs
                                                              Avinash Brian Dabideen Awesome stuff! #rate
                                                              Like · Reply ·      1 · 4 hrs

                                                               Write a reply...


                                                         Nandagopala Moorali Many of the people that report the video are the same
                                                         who watched it since you posted it.
                                                         Like · Reply ·    1 · 4 hrs
                                                         Aaron Scarborough Racists
                                                         Like · Reply · 4 hrs
                                                         Aaron Scarborough Good dog, racist blocked me
                                                         Like · Reply · 4 hrs

                                                         Aaron Scarborough Alllivesmatter
                                                         Like · Reply · 4 hrs
                                                              Parker Mosonyi How you gonna bring an argument about racism to a
                                                              plagiarized movie link on Facebook? Chill bruh
                                                              Like · Reply ·      1 · 4 hrs

                                                               Write a reply...


                                                         Julian Mrmotionpikture Harvey They even tagging the FBI face book page
                                                         hard as hell yeah take it down bro lbs




                                                         Like · Reply · 4 hrs

                                                                                                                             TMPID00029
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 21 of 65 Page ID #:193
                                                          Kori Lynn Zachary omfg
                                                          Like · Reply · 3 hrs

                                                              Zachary Dykes Well. I saw that coming. Hahah
                                                              Like · Reply ·      1 · 3 hrs
                                                             View more replies

                                                               Write a reply...


                                                         Julian Mrmotionpikture Harvey Black people all happy but Greg Zeller over
                                                         there mad as fuck lol 
                                                         Like · Reply ·    2 · 4 hrs
                                                              Nandagopala Moorali For real haha I just can't stop laughing at this kid
                                                              Like · Reply ·      1 · 4 hrs

                                                               Write a reply...


                                                         Parker Mosonyi But yeah dude take it down you're fucked
                                                         Like · Reply ·    1 · 4 hrs

                                                         Van Helsdingen Dylan So you got a millon views , Tre­Von M. King?
                                                         Like · Reply ·    1 · 4 hrs
                                                              Tre­Von M. King I guess so it's at 3 mill now
                                                              Like · Reply · 4 hrs
                                                              Van Helsdingen Dylan Wtf,dont you get a payed or sum shit for that
                                                              many views.
                                                              Like · Reply ·      1 · 4 hrs
                                                             View more replies

                                                               Write a reply...


                                                         Kimmy Moore He ain't even pay for a ticket...his mama did Ctfu mad ass
                                                         Like · Reply · 4 hrs
                                                         Tori Sarlo Oh my god everyone shut the hell up about white people this black
                                                         people this you all sounds like a bunch of children. Fact of the matter is this was
                                                         a crime and to post this on FACEBOOK and expect to not get reported...that
                                                         wasn't very smart but that was his choice doesn't affect me. But everyone pulling
                                                         the race card when nothing even had to have been said about it is immature,
                                                         ignorant, and MOSTLY annoying.
                                                         Like · Reply ·    4 · 4 hrs
                                                         Aaron Scarborough Racists
                                                         Like · Reply · 4 hrs
                                                         Aaron Scarborough We may have all come on different ships, but we're in the
                                                         same boat now. Martin Luther King
                                                         Like · Reply · 4 hrs
                                                         Tre­Von M. King If it's a crime, why my shit ain't got reported??? That part, Just
                                                         stfu already
                                                         Like · Reply ·    2 · 4 hrs

                                                         Aaron Scarborough I don't even care. You're all fucking shit eating racists
                                                         Like · Reply · 4 hrs
                                                         Kaylyn Bregar




                                                         Like · Reply ·    3 · 4 hrs
                                                         Nandagopala Moorali Then Facebook needs to go to jail too...because they
                                                         allowed it.
                                                         Like · Reply ·    1 · 4 hrs
                                                         Aaron Scarborough Fuck your crap lil smartphone movie. Shit quality anyhow.
                                                         But you're a racist. So Stfu bitch
                                                         Like · Reply · 4 hrs


                                                                                                                                   TMPID00030
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 22 of 65 Page ID #:194

                                                         Terry Broussard Sr. Good looking son but all bullshit aside this is piracy at its finest. I
                                                         knew someone who did this when fast7 came out...he's in jail now. Best of lucc son
                                                         Like · Reply ·    3 · 4 hrs

                                                               Wesley Paugh Bro aaron, give it a rest man. You've called rasict like 10 times
                                                               already. We get it.
                                                               Like · Reply ·    1 · 4 hrs
                                                               Aaron Scarborough Racist morons
                                                               Like · Reply · 4 hrs
                                                               Aaron Scarborough Fuck you too. Fuck you all. Racists
                                                               Like · Reply · 4 hrs

                                                               Tori Sarlo I mean it 100% is a crime and you probably know that and if not then
                                                               you must not watch movies much when it says at the beginning about how
                                                               filming a movie is illegal..which means it is a crime lol. I don't care what you do
                                                               in your free time (apparently film movies with your phone). But you can't say that
                                                               it isn't a crime but I don't care it's not me
                                                               Like · Reply ·    1 · 4 hrs
                                                               Kimmy Moore Aaron Scarborough get your crying bitchass out my inbox
                                                               Like · Reply ·    3 · 4 hrs · Edited
                                                                    Nandagopala Moorali Report him haha
                                                                    Like · Reply · 4 hrs
                                                                    Kimmy Moore Fuck his butt hurt crying ass
                                                                    Like · Reply · 4 hrs
                                                                   View more replies

                                                                      Write a reply...


                                                               Aaron Scarborough Racist stupid assholes. #AllLivesMatter
                                                               Like · Reply · 4 hrs
                                                               Ricky Holland Aaron calm down!!! Why are you so angry dude?
                                                               Like · Reply ·    1 · 4 hrs
                                                                    Wesley Paugh It's completely over the top
                                                                    Like · Reply ·       1 · 4 hrs
                                                                    Ricky Holland Man he's bout to stroke out ὠὠὠὠ looking like Murphy




                                                                    Like · Reply ·       2 · 4 hrs
                                                                   View more replies

                                                                      Write a reply...


                                                               Tori Sarlo Best of luck
                                                               Like · Reply · 4 hrs

                                                               Kimmy Moore You know a muthafucka mad when they inbox you lmmfao
                                                               Like · Reply ·    4 · 4 hrs

                                                               Derek LaMonica Daaaamn Daniel!
                                                               Like · Reply ·    2 · 4 hrs
                                                               Julian Mrmotionpikture Harvey Oh bro they reported it Tre­Von M. King they
                                                               will be coming around that's why I want you to take it down they will let this build
                                                               come get you a week later and put you on the news and these people will be
                                                               happy they made a example of you in a minute on some real shit take it down
                                                               we still need that superman vs batman in a couple of months
                                                               Like · Reply ·    5 · 4 hrs
                                                               Ryan McCann I like how this got pirated but not the latest Tyler Perry movie 
                                                               being white must be the new hip thing

                                                                                                                                          TMPID00031
                                                               Like · Reply ·    1 · 4 hrs

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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 23 of 65 Page ID #:195
                                                             1 Reply

                                                         Julian Mrmotionpikture Harvey Tre­Von M. King block Aaron Scarborough
                                                         look he snitching hard as hell




                                                         Like · Reply ·    2 · 4 hrs
                                                              Nandagopala Moorali He shared Tim ash post. If you read Tim ash
                                                              profile she watched the movie earlier on in the day. Not to long before
                                                              the video was posted to Facebook. So that mean the person watch it on
                                                              Facebook then decide to report an go mad hahaha
                                                              Like · Reply · 3 hrs

                                                               Write a reply...


                                                         Kimmy Moore Lmaoooo HE MAAAADDDEERRRRR 
                                                         Like · Reply ·    1 · 4 hrs
                                                         Julian Mrmotionpikture Harvey He got bro picture and everything lol he red as
                                                         hell in the face 
                                                         Like · Reply ·    2 · 4 hrs
                                                              Kimmy Moore Lmfaooooo he typed that shit hard as hell with 2 fingers 


                                                              Like · Reply ·      2 · 4 hrs

                                                              Julian Mrmotionpikture Harvey




                                                              Like · Reply · 3 hrs

                                                               Write a reply...


                                                         Tre­Von M. King He just making me more famous
                                                         Like · Reply ·    7 · 4 hrs
                                                              Kimmy Moore 
                                                              Like · Reply ·      1 · 4 hrs
                                                              Nandagopala Moorali Yup....all u have to do is delete an come back
                                                              later for another dose of fame haha
                                                              Like · Reply ·      1 · 4 hrs
                                                             View more replies

                                                               Write a reply...


                                                         Van Helsdingen Dylan Can I still download it? Lol
                                                         Like · Reply ·    1 · 4 hrs
                                                              Tre­Von M. King Better hurry
                                                              Like · Reply · 3 hrs

                                                              Inowolf Barker how?
                                                              Like · Reply · 3 hrs
                                                             View more replies

                                                               Write a reply...


                                                         Julian Mrmotionpikture Harvey Yeah bro don't let these people do it to you
                                                         because they gone try I don't want to see you get lock up or cought up in some
                                                         bullshit because these people are watching seriously like all jokes aside but you
                                                         a grown man so if you gone own up to this shit when them white folks come
                                                         knocking hey sky the limit
                                                         Like · Reply ·    2 · 3 hrs
                                                                                                                                TMPID00032
https://www.facebook.com/trevon.franklin.33?fref=photo                                                                                       22/64
2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 24 of 65 Page ID #:196

                                                         Antonio Brown U not profiting from it so u good.
                                                         Like · Reply ·    3 · 3 hrs
                                                                    Wesley Paugh Good point
                                                                    Like · Reply ·       1 · 3 hrs

                                                                    Chris Shanks Just because you aren't "profiting" does not mean you
                                                                    can't get into trouble because it is a federal crime to distribute
                                                                    copyrighted material. You can be be prosecuted via the criminal justice
                                                                    system. This is considered "piracy" and/or "theft". Lack of education in
                                                                    the area does not mean "U good cuz u not profiting". I'd hate to see a
                                                                    person locked up or get in trouble over some stupid movie.
                                                                    Like · Reply · 3 hrs
                                                                   View more replies

                                                                      Write a reply...


                                                               EL Onehundred I don't give a Mf what color you are if you mad BIG FUCK YOU
                                                               HATING ASS MF. Tre­Von M. King keep doing you shit I hope you put more shit
                                                               up
                                                               Like · Reply ·    3 · 3 hrs

                                                               Avinash Brian Dabideen Tre­Von M. King Bro, is it just me or idk but doesn't
                                                               Ryan Reynolds character in X­men Origins: Wolverine, seem a bit of Deadpool­
                                                               ish also?
                                                               Like · Reply ·    3 · 3 hrs
                                                                    Tre­Von M. King That is him
                                                                    Like · Reply · 3 hrs
                                                                    Wesley Paugh Ye ah. They just butchered the hell outta him in that one
                                                                    Like · Reply · 3 hrs
                                                                   View more replies

                                                                      Write a reply...


                                                               Tre­Von M. King Nothing but 2016 movies, I'm catching all of em
                                                               Like · Reply ·    3 · 3 hrs
                                                                    EL Onehundred Shit tag me so I can get them
                                                                    Like · Reply ·       2 · 3 hrs

                                                                      Write a reply...


                                                               Will Laraby From behind bars? I didn't know you got the new movies in jail?
                                                               Like · Reply ·    2 · 3 hrs
                                                                    Tre­Von M. King *get
                                                                    Like · Reply ·       1 · 3 hrs
                                                                    Will Laraby No, you're right. *get, but if we're correcting things... it
                                                                    should have been *you'd get
                                                                    Like · Reply · 3 hrs

                                                                      Write a reply...


                                                               Van Helsdingen Dylan Wtf
                                                               Like · Reply ·    1 · 3 hrs
                                                                    Tre­Von M. King Niggas be hatin fam
                                                                    Like · Reply ·       1 · 3 hrs

                                                                    Van Helsdingen Dylan Fareal.
                                                                    Like · Reply ·       1 · 3 hrs

                                                                      Write a reply...


                                                               Nandagopala Moorali Bro you should record your push notification going mad
                                                               af hahaha
                                                               Like · Reply ·    1 · 3 hrs · Edited

                                                               Oran Snelling The reality of all of this is that we love drama in America be it a
                                                               black, white, Asian or other, we love drama. Somewhere there's a lawyer
                                                               drooling to have an opportunity to represent this man IF it came down to that.
                                                               With the exposure that this has g... See More
                                                               Like · Reply ·    7 · 3 hrs · Edited

                                                               Michael Smith if anything it's gonna be marvel coming after this, they will take 3
                                                               million views x movie prices and have enough for a pretty good copyright
                                                                                                                                               TMPID00033
https://www.facebook.com/trevon.franklin.33?fref=photo                                                                                                      23/64
2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 25 of 65 Page ID #:197
                                                         lawsuit. Just download KODI, it's like a bootleg Netflix for every movie and you
                                                         don't have to download anything! Lol
                                                         Like · Reply ·    3 · 3 hrs
                                                              Julian Mrmotionpikture Harvey Well do
                                                              Like · Reply · 3 hrs

                                                               Write a reply...


                                                         Steve Usher Keith Brigman Richard Brown this dude wild as fuck lol
                                                         Like · Reply ·    2 · 3 hrs

                                                         Michael Holder Thanks homie..... You saved me ten bucks with the bootleg man
                                                         lol
                                                         Any walking dead????
                                                         Like · Reply ·    1 · 3 hrs
                                                              Michael Holder Thanks fam.. Much appreciated.. 
                                                              Is that download only??? 
                                                              Where can I stream?? ... See More
                                                              Like · Reply · 2 hrs

                                                               Write a reply...


                                                         Richard Brown Steve Usher Keith Brigman this nigga don't give a fuck lol
                                                         Like · Reply ·    2 · 3 hrs

                                                         Chris Prouse Thanks for movie hope fbi dont fuck you up
                                                         Like · Reply ·    1 · 3 hrs
                                                         Tre­Von M. King Still waiting.....
                                                         Like · Reply ·    1 · 3 hrs
                                                         Oran Snelling He's not received any compensation. Non profit organization? 
                                                              
                                                         If you've ever posted a scripture or photo from a website etc..it's the same
                                                         possibility
                                                         Like · Reply ·    1 · 3 hrs
                                                              Allison Smith Distribution itself is a crime, regardless of intent to profit.
                                                              Current law sets infringement threshhold at $1500. People dont get in
                                                              trouble for bible exerpts or web photos because it doesnt equal 1500 or
                                                              more. Feds will pursue cases involving infring... See More
                                                              Like · Reply ·      2 · 2 hrs · Edited
                                                              Oran Snelling Allison Smith I'm afraid to look at your profile after reading
                                                              your reply..wouldn't want to mess up the notion that you sound hott. Ha.
                                                              No, for real though...I never knew what this movie was until late last
                                                              night..so to me, he's actually helped expose it. Now I'll go pay to see it.
                                                              Like · Reply ·      1 · 2 hrs
                                                             View more replies

                                                               Write a reply...


                                                         Oran Snelling Number one search at the moment is this guy                   
                                                             
                                                         Told you all WE love drama SMH
                                                         Like · Reply ·    2 · 3 hrs
                                                         Travan TrayBoogie Porchia He ain't dumb he know if anything crazy happen
                                                         he just gone delete it lol duh...
                                                         Like · Reply ·    1 · 3 hrs
                                                              Tre­Von M. King Ya feeel me, it's already viral
                                                              Like · Reply · 3 hrs

                                                               Write a reply...


                                                         Chris Shanks oh man..the ignorance of people. "You aren't profiting" so it's ok to
                                                         show pirated movies. Man, people like you make it easy for Feds or Police to
                                                         find you. That's like robbing a bank and then posting it online. lol smh. You know
                                                         why it's hard to shutd... See More
                                                         Like · Reply ·    11 · 3 hrs
                                                         Tre­Von M. King Fuck off
                                                         Like · Reply ·    3 · 3 hrs

                                                         Lucas Heath Jones Good lookin watchn now lol
                                                         Like · Reply ·    1 · 3 hrs

                                                         Icyclenyc Raul bro you good lmao aint bo feds give a damn about the movie
                                                         being posted on facebook unless you make copies and sell them

                                                                                                                                     TMPID00034
https://www.facebook.com/trevon.franklin.33?fref=photo                                                                                            24/64
2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 26 of 65 Page ID #:198
                                                         Like · Reply ·    2 · 3 hrs

                                                         Oran Snelling Set up a go fund me account lol.
                                                         Like · Reply ·    2 · 3 hrs
                                                         Icyclenyc Raul BROOO FUCK THESE PEOPLE LMAO YOU THE MAN THEY
                                                         MAD BECAUSE YOU SPOILED IT LMAO HERB ASS SNITCHES TO THE FBI
                                                         LMAO
                                                         Like · Reply ·    2 · 3 hrs

                                                         Tre­Von M. King That's why I'm just sitting back smoking out my bong laughing
                                                         at these mfs who think they know what they talking I haven't sold shit to anyone,
                                                         or made copies. I haven't done anything illegal Ὂ
                                                         Like · Reply ·    5 · 3 hrs

                                                         Alex Grier You gonna take movie requests? Make a private Facebook page
                                                         group and just put movies in it lmao. I want that batman vs superman bruh
                                                         Like · Reply ·    7 · 3 hrs
                                                              Tre­Von M. King That's a smart idea, I'll have to see what's up with that
                                                              bro
                                                              Like · Reply ·      1 · 3 hrs

                                                              Anthony Ransaw Lol
                                                              Like · Reply ·      1 · 2 hrs

                                                               Write a reply...


                                                         Cory Troupe Also it doesn't matter if you delete the movie now. Fb has a cache
                                                         on their end. They got all of this saved.
                                                         Like · Reply ·    6 · 2 hrs
                                                         Julian Mrmotionpikture Harvey Sharing it is crime to that's why you can go to
                                                         jail for illegal music he can get in trouble for this shit
                                                         Like · Reply · 2 hrs
                                                              Buc Brown This isn't the same as hosting music files that are shared via
                                                              p2p networks. This dude will be fine. FB will remove it before the Feds
                                                              are at his door
                                                              Like · Reply · 2 hrs

                                                               Write a reply...


                                                         Dom Yonta Along with the 3 million viewers huh?
                                                         Like · Reply · 2 hrs
                                                         Garrett Robb Ignorance is bliss
                                                         Like · Reply · 2 hrs
                                                         Josh Pope Tre, you did actually admit on here that YOU recorded this movie on
                                                         your HTC phone... That in it's self, is a federal offense.
                                                         Like · Reply ·    11 · 2 hrs
                                                              Em Vez Who cares bro , tell me you didn't watch it? & even so thats his
                                                              worries .
                                                              Like · Reply · 24 mins

                                                               Write a reply...


                                                         Freddie Rodriguez I bet those complaining are watching it tho... lol... for real tho
                                                         I hope they don't come after you.
                                                         Like · Reply ·    4 · 2 hrs

                                                         Tre­Von M. King Fuck 12, I got the ultimate way out of this, yall might be
                                                         surprised on how I won't go to jail but just become more famous
                                                         Like · Reply ·    2 · 2 hrs
                                                              Dylan Barker Wait you really think your famous?
                                                              Like · Reply · 2 hrs

                                                              Tre­Von M. King No wtf I can careless
                                                              Like · Reply · 2 hrs
                                                             View more replies

                                                               Write a reply...


                                                         Adam Dennis Deadpool would totally approve! Thanks
                                                         Like · Reply ·    1 · 2 hrs

                                                         Steven Burrell I dig your style. I know you're not profiting, but Damn you got
                                                         balls bro lol.
                                                         Like · Reply ·    5 · 2 hrs

                                                                                                                                    TMPID00035
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 27 of 65 Page ID #:199
                                                          Freddie Rodriguez He's profiting off of gaining fans... lol
                                                          Like · Reply ·     1 · 2 hrs
                                                              Tre­Von M. King Ὂ
                                                              Like · Reply ·      1 · 2 hrs
                                                             View more replies

                                                               Write a reply...


                                                         Juan M Aranda




                                                         Like · Reply · 2 hrs
                                                         Jimmy Mulay Deadpool is whatever. You the real hero.
                                                         Like · Reply ·     2 · 2 hrs
                                                         Tre­Von M. King Thank you, that's all I'm trynna say^
                                                         Like · Reply ·     2 · 2 hrs
                                                              Chelsey Skinner No problem people are just fuckin stupid they always
                                                              wanna bring people down fuck em
                                                              Like · Reply ·      3 · 2 hrs
                                                              Jimmy Mulay You're a hero. Just like the heroes during prohibition.
                                                              Media should be free. People and the government need to get priorities
                                                              straight and the $500 million they already earned off this movie should
                                                              be put to fixing the infrastructure of America. Cigar... See More
                                                              Like · Reply ·      1 · 2 hrs

                                                               Write a reply...


                                                         Tre­Von M. King Got 4 million views, I don't think it's gonna stop going up
                                                         Like · Reply ·     3 · 2 hrs · Edited
                                                              Chelsey Skinner Hell yeah that's awesome fuck the haters 
                                                              Like · Reply ·      2 · 2 hrs

                                                              Heather Soliz THANK YOU! 
                                                              Like · Reply ·      1 · 2 hrs

                                                               Write a reply...


                                                         Buc Brown He's not hosting, its not p2p, he's not selling, or even charging
                                                         admission to view. He's fine.
                                                         Like · Reply · 2 hrs
                                                              Hayley Seibel Doesn't matter. It's illegal.
                                                              Like · Reply · 2 hrs

                                                              Buc Brown So you think...
                                                              Like · Reply · 1 hr
                                                             View more replies

                                                               Write a reply...


                                                         Hayley Seibel FBI – Federal Bureau of Investigation
                                                         Like · Reply ·     13 · 2 hrs
                                                              George Casey Langdon Lol you win the internet troll award
                                                              Like · Reply ·      1 · 2 hrs

                                                               Write a reply...


                                                         Beto Urias 20th Century Fox
                                                         Like · Reply ·     6 · 2 hrs
                                                              Blake Winters Ouch
                                                              Like · Reply · 30 mins

                                                               Write a reply...


                                                         Kevin Greer This guy is braindead
                                                         Like · Reply ·     3 · 1 hr
                                                         Dale Morris Toronto ..Canada. Here ...Cheers ...

                                                                                                                                  TMPID00036
https://www.facebook.com/trevon.franklin.33?fref=photo                                                                                         26/64
2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 28 of 65 Page ID #:200
                                                         Like · Reply · 1 hr

                                                         Chase Alexander Jones lol, good luck man. You should just post up on
                                                         puttlocker
                                                         Like · Reply · 1 hr
                                                         Ruben De La Torre




                                                         Like · Reply ·    6 · 1 hr
                                                              Tre­Von M. King Ayeeee
                                                              Like · Reply ·      1 · 1 hr

                                                               Write a reply...


                                                         Phailin Mong You all need something better to do with your life than to be
                                                         worrying about him and what he's doing. Oh well, it's his choices. 
                                                         Good day! 
                                                         Who the hell cares. But obviously you do. So ha, good luck with saying things to
                                                         him. He's not offended. You are. 
                                                         Like · Reply ·    3 · 1 hr
                                                         Tre­Von M. King Thanks sis Phailin MongὊ
                                                         Like · Reply ·    1 · 1 hr
                                                              Ismael Martinez Bro no lie start a new facebook fake name an
                                                              everything an start recording all this new movies lmao you will be the
                                                              bext big thing !
                                                              Like · Reply ·      1 · 1 hr
                                                              Tre­Von M. King I feel you, no fake name tho.
                                                              Like · Reply ·      1 · 59 mins
                                                             View more replies

                                                               Write a reply...


                                                         Juan M Aranda Keep us updated if you go to jail or not!! But i hope you dont
                                                         good luck!
                                                         Like · Reply ·    1 · 59 mins · Edited
                                                         Adam Marshall Holy crap dude, thank you. You just saved me 50 bucks
                                                         Like · Reply ·    1 · 43 mins
                                                         Cody Thomas Why's everyone mad you did this? I think it's awesome you
                                                         posted this. Fuck paying them money . Thanks for the vid man!
                                                         Like · Reply ·    1 · 41 mins
                                                         Tre­Von M. King Idk but it's getting annoying smh
                                                         Like · Reply ·    1 · 35 mins

                                                                   Matthew Silva replied · 2 Replies · 2 mins

                                                         Blake Winters Screw it reason I do firesticks .... but I laughed when I saw it lol I
                                                         been busted 5x for uploading by fbi and there letters I get 1 more strike they ban
                                                         me for life from Internet #screwem
                                                         Like · Reply · 31 mins
                                                         Blake Winters 4 million views maybe 2 million of em watched... average price of
                                                         ticket 10 bucks 2 people average going to go watch so 2x10x2,000,000..... 40
                                                         million bucks they lost
                                                         Like · Reply · 28 mins

                                                                   Em Vez replied · 1 Reply

                                                         Chris Parker Brandon Mullens Johnny White
                                                         Like · Reply · Just now

                                                          Write a comment...



                                                          Suwop Mollyboy HalloweenGang                    Tre­Von M. King
                                                          11 hrs · 

                                                                                                                                   TMPID00037
https://www.facebook.com/trevon.franklin.33?fref=photo                                                                                          27/64
2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 29 of 65 Page ID #:201
                                                         A bro ur a fucking legend for puttin that movie on here man straight up bro
                                                         #c​
                                                         ​ reaturefeature ​#s​xateordie


                                                         2 people like this.

                                                                Tre­Von M. King Ὂ
                                                                    1 · 11 hrs



                                                                   Tre­Von M. King
                                                                   14 hrs · 

                                                         FUCK THE SYSTEMὊ

                                                            Like               Comment                Share

                                                         127 people like this.

                                                         1 share

                                                         View 33 more comments
                                                                Angela Felisa Angulo Don't take the vid down yet. I still gotta watch it. Lmfao.
                                                                Like · Reply ·      4 · 4 hrs
                                                                Joe Hunter Much appreciated for postin that. If you get locked up I got 50$ on
                                                                your books.
                                                                Like · Reply · 3 hrs
                                                                Touba Ad Sow Yo bro stay safe bro just unplug of social media turn of your
                                                                phone or sell it sell your pic if you have to and do all that to stay safe these
                                                                fuckers will wanna catch you and put you on the news! Be safe bro
                                                                Like · Reply · 3 hrs

                                                                   Write a comment...



                                                                   Tre­Von M. King
                                                                   16 hrs · 

                                                         My girl's the best for recording me this dayὊ




                                                                                                                           ­0:33


                                                         19,738 Views

                                                           Tre­Von M. King                                                                     Follow
                                                           February 13 at 4:45pm · 

                                                           #T
                                                           ​​odayWasAGoodDay ​
                                                                             #S
                                                                              ​kateSavage ​
                                                                                          #T
                                                                                           ​hanksBabe ​
                                                                                                      #F
                                                                                                       ​orCamcording ​
                                                                                                                     #Y
                                                                                                                      ​ee

                                                            Like               Comment                Share

                                                         36 people like this.

                                                                Dylan Dunston You the real MVP
                                                                Like · Reply ·      1 · 15 hrs

                                                                Tanner Shelby Dope ass tricks
                                                                Like · Reply ·      1 · 10 hrs

                                                                             Tre­Von M. King replied · 1 Reply



                                                                                                                                            TMPID00038
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 30 of 65 Page ID #:202

                                                          Van Helsdingen Dylan Dame 15 thousand views farealz
                                                          Like · Reply ·        1 · 3 hrs

                                                                Tre­Von M. King Thats what I'm saying, put busland on the map
                                                                Like · Reply · 1 hr

                                                                   Write a comment...



                                                                    Marvin Ford             Tre­Von M. King
                                                                    18 hrs · 

                                                         Bro really uploaded. Whole movie joint on here lol


                                                         Tre­Von M. King likes this.



                                                                    Tre­Von M. King
                                                                    February 20 at 8:20pm · 

                                                         TO ALL MY FACEBOOK FRIENDS, I HOPE YOU ENJOY DEADPOOL THE
                                                         FULL MOVIE, WHICH IS POSTED ON MY WALL. I GOT YALL FOR THE
                                                         JUGGὊ ὠ

                                                            Like                Comment               Share

                                                         351 people like this.

                                                         3 shares

                                                                Nicholas Mendia You the real MVP Ὂ
                                                                Like · Reply ·        8 · February 20 at 10:07pm
                                                                Brittney Vanilla'Dutchez Barcroft Thank you
                                                                Like · Reply ·        1 · 18 hrs
                                                                MackMain Jones Nigga I'm not even friends with you and I thank ya.i was two
                                                                mins from walking into the theater Ἴ Ἴ Ἴ #ranoffonthepluggtwice
                                                                Like · Reply ·        26 · 17 hrs
                                                                        Brian Alderson O wow lol
                                                                        Like · Reply · 16 hrs

                                                                         Write a reply...


                                                                Tre­Von M. King Welcome my dude
                                                                Like · Reply ·        1 · 17 hrs
                                                                Nicole Nikki Lampkin Good looking hopefully people mind there business and
                                                                don't report you
                                                                Like · Reply ·        6 · 17 hrs
                                                                Tre­Von M. King That partὊ
                                                                Like · Reply ·        2 · 17 hrs

                                                                Jay Walla You the man fuck Netflix and chill I had bootleg and shit gets real
                                                                Like · Reply ·        3 · 17 hrs
                                                                        Quadasia Gillam                    facts tho
                                                                        Like · Reply ·       1 · 16 hrs

                                                                        Jay Walla ὊὊὊ
                                                                        Like · Reply · 16 hrs

                                                                         Write a reply...


                                                                D'Aaron Holt Yo dog i don't know u in the least bit but my nigga good looks tho
                                                                ὠ
                                                                Like · Reply ·        4 · 17 hrs
                                                                        Tre­Von M. King No problem
                                                                        Like · Reply · 17 hrs

                                                                         Write a reply...


                                                                Muz Aleme Kills bro
                                                                Like · Reply ·        1 · 17 hrs
                                                                                                                                        TMPID00039
https://www.facebook.com/trevon.franklin.33?fref=photo                                                                                               29/64
2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 31 of 65 Page ID #:203

                                                         Dennis Williams Appreciate that Homie !
                                                         Like · Reply ·    1 · 17 hrs
                                                               Ryann Mothersell But I respect it you got heart 
                                                               Like · Reply ·    1 · 17 hrs
                                                               Emilio Valentin Who da man? You da Man good looks!
                                                               Like · Reply ·    1 · 16 hrs

                                                               Capeles Alexander




                                                               Like · Reply ·    1 · 16 hrs
                                                               Robert E Krook You the real mvp
                                                               Like · Reply ·    5 · 16 hrs
                                                                    Dwayne Smith No lie I posted the same thing at the same exact lmao
                                                                    Like · Reply ·       2 · 16 hrs

                                                                      Write a reply...


                                                               Dwayne Smith You the real MVP
                                                               Like · Reply ·    4 · 16 hrs
                                                               John Robinson Just saying a major copy right it coming your way be prepared
                                                               to fight that .
                                                               Like · Reply ·    23 · 16 hrs
                                                                    Ryan Jackson I say we start a go fund me a count for the man and all
                                                                    pay a dollar for our viewing of the movie and he can pay his lawyer fees
                                                                    that way
                                                                    Like · Reply ·       12 · 16 hrs
                                                                    Tina Caputo Yeah this was not too smart as much as this has been
                                                                    shared. I feel like its just a matter of time. Up to 10 years in prison for
                                                                    this. Hope it was worth it.
                                                                    Like · Reply ·       18 · 16 hrs
                                                                   View more replies

                                                                      Write a reply...


                                                               Ryan Jackson Big ups mah dude you the illest




                                                               Like · Reply ·    6 · 16 hrs
                                                               Andrew Sullivan Damn ya boii straight plugged fb with the whole fucking
                                                               movie.. lhh
                                                               Like · Reply ·    4 · 16 hrs
                                                                    Tre­Von M. King Ὂ
                                                                    Like · Reply ·       1 · 16 hrs

                                                                      Write a reply...


                                                               Andrew Sullivan Savage
                                                               Like · Reply ·    3 · 16 hrs

                                                               Michael Rodriguez Lmao my dude
                                                               Like · Reply ·    1 · 16 hrs

                                                               Nicholas Mack S|O 2 ya Ὂ
                                                               Like · Reply ·    1 · 16 hrs


                                                                                                                                            TMPID00040
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 32 of 65 Page ID #:204

                                                         Chris Thomas If don't nobody else say it just know you the mf coldest
                                                         Like · Reply ·    3 · 16 hrs

                                                               Simon Arroyo Na too bootleg
                                                               Like · Reply ·    1 · 16 hrs

                                                               Alex Wimberger My nigga my nigga I broke my leg and I'm recovering from
                                                               surgeries so I couldn't watch it at the theaters thanks so much
                                                               Like · Reply ·    7 · 16 hrs
                                                                    Tre­Von M. King Welcome bro and sorry to hear that take care and enjoy
                                                                    deadpool, it's on me
                                                                    Like · Reply · 15 hrs

                                                                    Alex Wimberger Haha I just finished it thanks a lot and fuck all the
                                                                    haters they just made nobody is sharing they shit
                                                                    Like · Reply ·        1 · 15 hrs

                                                                      Write a reply...


                                                               Robert Alonzo Richardson Thanks
                                                               Like · Reply · 15 hrs

                                                               Tina Fine You Rock! 
                                                               Like · Reply ·    1 · 15 hrs

                                                               Bazz DidThat           Ὂ
                                                               Like · Reply · 15 hrs
                                                               Sarah Tattoolife Gary Who said he recorded it? 
                                                               ὐὐ
                                                               Like · Reply ·    3 · 15 hrs
                                                                    Brandon Murphy Redistributing a pirated movie is still a federal offense.
                                                                    Like · Reply ·        7 · 13 hrs

                                                                    Sandy Schmahl He did!




                                                                    Like · Reply ·        3 · 13 hrs
                                                                   View more replies

                                                                      Write a reply...


                                                               Esther Mason Thank you for sharing
                                                               Like · Reply · 15 hrs

                                                               Shaheed El­Shabazz Finessin da plug... Fuck 20th century
                                                               Like · Reply ·    4 · 15 hrs

                                                               Petey Guapalotiget what movie next lol I'm bout to tune in
                                                               Like · Reply ·    7 · 14 hrs

                                                               Nathanael Tillow Fuckin savage! 
                                                               Like · Reply ·    4 · 14 hrs

                                                               Keith Schaub How can i save this and watch it later
                                                               Like · Reply ·    1 · 14 hrs
                                                                    Tre­Von M. King Their is an app you can save fb links.
                                                                    Like · Reply · 14 hrs
                                                                    Keith Schaub Whats it called
                                                                    Like · Reply · 14 hrs
                                                                   View more replies

                                                                      Write a reply...



                                                                                                                                       TMPID00041
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 33 of 65 Page ID #:205

                                                         Tristan Meade Nigga you a real one for this right here
                                                         Like · Reply ·    3 · 14 hrs
                                                               Colton Tustin Appreciate it bro
                                                               Like · Reply ·    1 · 14 hrs

                                                               Stephen Alexander Miller he's going dowwwwwwwnnnn boy
                                                               Like · Reply ·    9 · 14 hrs
                                                               Anthony Green Jugg then my nigga haha!!!
                                                               Like · Reply ·    1 · 14 hrs

                                                               Shawn Tracy You the real mvp
                                                               Like · Reply ·    2 · 14 hrs

                                                               Dae Babyblue Neely . can you record a movie for me ?         Ὂ
                                                               Like · Reply · 14 hrs
                                                               Nathanael Tillow OK I'm done




                                                               Like · Reply ·    9 · 14 hrs · Edited

                                                               Daniel Edison Thank you!
                                                               Like · Reply ·    1 · 13 hrs
                                                               Nathan Alan Umphreys Thanks!
                                                               Like · Reply ·    1 · 13 hrs
                                                               Khardai Sniper Rogers My peace and blessings be upon you 
                                                                            #ienjoyedit
                                                               Like · Reply ·    2 · 13 hrs
                                                               Shaheed El­Shabazz Fuck Marvel. They donated $1 million to Trump racist ass
                                                               Like · Reply ·    4 · 13 hrs
                                                                    Shaheed El­Shabazz The bul screenshot your convo.
                                                                    Like · Reply · 13 hrs
                                                                    Claire Allison Cooke Marvel didn't, a dude who works at Marvel did.
                                                                    Like · Reply · 11 hrs
                                                                   View more replies

                                                                      Write a reply...


                                                               Juan Renteria Robles Savage   you the real MVP brobro, jus watched that
                                                               shit. My mans funny asf     good looks!
                                                               Like · Reply ·    1 · 13 hrs

                                                               Trace Gagnon Lol this made my day
                                                               Like · Reply ·    1 · 13 hrs

                                                               Tre­Von M. King Thank everyone that didn't comment anything negative Fuck
                                                               those who did or still is Ὂ
                                                               Like · Reply ·    16 · 13 hrs
                                                                    Khardai Sniper Rogers Lol keep em coming
                                                                    Like · Reply ·       1 · 13 hrs

                                                                      Write a reply...


                                                               Kandy K Blanco technology is so great!!!!
                                                               Like · Reply ·    1 · 13 hrs
                                                               Marc Lincoln Dude ur awsome
                                                               Like · Reply ·    1 · 13 hrs

                                                               Leo Tasker Dude thank u so fucking much       this made my night
                                                               Like · Reply ·    2 · 12 hrs

                                                                                                                                    TMPID00042
https://www.facebook.com/trevon.franklin.33?fref=photo                                                                                           32/64
2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 34 of 65 Page ID #:206

                                                         Frankie Asiamah Yo, you made my day bro. Keep it up when the new Superman
                                                         movie come out.
                                                         Like · Reply ·    4 · 12 hrs
                                                               Tre­Von M. King Sumtime around the summer I think, but I got yall
                                                               Like · Reply ·    6 · 12 hrs

                                                               Corey Thomas Savage!!! Good looking out
                                                               Like · Reply ·    1 · 12 hrs

                                                               James Jaromira Currell ..props brotha ,,tune in lol like Petey Guapalotiget said




                                                               Like · Reply ·    7 · 12 hrs
                                                               Devon Fernandez Thnx for posting it I thought I was never gonna see it c:
                                                               Like · Reply ·    1 · 12 hrs
                                                                    Tre­Von M. King Welcome
                                                                    Like · Reply ·       1 · 12 hrs

                                                                      Write a reply...


                                                               Luther Yang Real mvp
                                                               Like · Reply ·    1 · 12 hrs
                                                               Penelope J Lloyd You got guts dude. That all i gotta say. Lmao 
                                                               Like · Reply ·    4 · 12 hrs

                                                               Anthony Ransaw Good movie, but dude you have balls. This will be on the
                                                               news tomorrow.
                                                               Like · Reply ·    3 · 11 hrs
                                                               Todd Oneal not bad but blurry thy
                                                               Like · Reply · 11 hrs
                                                               Jasmine Marie Find the boy or Krampus that would be awesome
                                                               Like · Reply ·    2 · 11 hrs
                                                               Shawn Miller Thanks bro it was awesome
                                                               Like · Reply · 11 hrs
                                                               Jennifer Jones Lol someone better get the GoFundMe started.
                                                               Like · Reply ·    20 · 11 hrs
                                                                    Kaycee Cotten Lmao!
                                                                    Like · Reply ·       1 · 5 hrs

                                                                      Write a reply...


                                                               Douglas Hall MVP!! ὊὊὊ
                                                               Like · Reply ·    1 · 11 hrs
                                                               Mike Malone Shit I dont even care about the movie, I just wanna see what's
                                                               gonna happen to this guy and if he gets away with it he's FB legend ..
                                                               Like · Reply ·    31 · 10 hrs
                                                                    John Corral He is not a legend... Its basically like he killed someone and
                                                                    is walking around covered in blood bragging about it expecting not to be
                                                                    caught.. He is going to be prosecuted and go to jail. That is not legend.
                                                                    That is dumbass
                                                                    Like · Reply ·       1 · 2 hrs

                                                                      Write a reply...


                                                               Kim Lois Puerto­Bollozos Shizzzz....Now I seen the movie w/my bf but thanks
                                                               Tre­von...hope u have to go Hide Now....
                                                               Like · Reply ·    1 · 9 hrs


                                                                                                                                       TMPID00043
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 35 of 65 Page ID #:207

                                                         Erica Botley Lancour Legend!
                                                         Like · Reply ·    1 · 9 hrs

                                                               Carolus Magnus This same copy been on the internet already. The quality a lil
                                                               grainy too. Nobody trippin on this guy. Marvel made plenty off this. Imma see
                                                               Stan Lee on the 28th I'll put in a good word haha.
                                                               Like · Reply ·    1 · 8 hrs

                                                               David Kurowski Thanks man!
                                                               Like · Reply ·    1 · 8 hrs

                                                               Ayden Johnson How can I download it quickly from here?
                                                               Like · Reply · 8 hrs
                                                               Kristina Norfleet Well how about everybody who watched it is fucked how
                                                               about that. Na everybody always got something to say about everything shut the
                                                               fuck up and worry about your life.
                                                               Like · Reply ·    3 · 7 hrs
                                                                    John Corral And you are posting this comment because you are
                                                                    worrying about your own life ?
                                                                    Like · Reply · 2 hrs

                                                                    Kristina Norfleet




        Intro
        Tre­Von M. King                                                                                           Vivian    Home 20+

       I Be Getting To The Money, Down Fall Be The                  Like · Reply · 2 hrs
                        Business Ὂ
            Tre­Von M. King     Timeline       Recent              View more replies                                                                Sponsored

                                                                      Write a reply...
      Lives in Fresno, California
      In a relationship with Essence Tucker
                                                               Lorin Gamble U real AF bro
                                                               Like · Reply · 6 hrs
                                                               Mark A. Lieberg
        Photos                                                                                                                                      M.Gemi Is Reinventing Th
                                                                                                                                                    www.bloomberg.com
                                                                                                                                                    It's time for something new in
                                                                                                                                                    the world of luxury shoes.




                                                                                                                                                    Shop Coach 1941
                                                                                                                                                    coach.com
                                                                                                                                                    The Tea Rose Applique Saddle
                                                                                                                                                    Bag is blooming with charm –
                                                               Like · Reply ·    4 · 6 hrs
                                                                                                                                                    #Coach1941 is the ultimate
                                                               Lorin Gamble Most y'all hattin talking bout enjoy jail stfu and enjoy the movie he   expre...
                                                               cool AF for doing this
                                                               Like · Reply ·    4 · 6 hrs
                                                                    Bobby Joe Fawkes He's screwing the people who made the bootleg
                                                                    and the ones that use those channels. THATS NOT COOL AF...that's
                                                                    fucking RETARDED and Ignorant Thirsty ass MF'S
                                                                    Like · Reply ·       3 · 6 hrs

        Friends · 3,018                                             Dylan Paddison He's going to prison. He may be "cool" but let's see
                                                                    how many people think that once he's gone
                                                                    Like · Reply · 5 hrs
                                                                   View more replies


                                       Nicholas                       Write a reply...
  Yanci Scott        Marty Jo          Mendia
                                                               Meechie GoGetta You are the real MVP of 2016
                                                               Like · Reply ·    1 · 6 hrs

                                                               Benjamin Brooks Thanks for the movie big dog
                     Real              Jeremy
                                                               Like · Reply ·    1 · 5 hrs
                     Jaszmaurey        Buddaman
  Angeline Guidry    Bone Thug         Griffin                      Tre­Von M. King Welcome
                                                                    Like · Reply · 5 hrs

                                                                      Write a reply...
                                                                                                                                       TMPID00044
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 36 of 65 Page ID #:208
                                                                     Julian Mrmotionpikture Harvey Folly crazy lol
                                                                     Like · Reply ·      1 · 4 hrs
                                          Richard John­
                                                                     Benjamin Cotter This is going to take away money for the sequel..
                                          Christopher
  Dat Boy Stevo       Semaj Edwards       Mendia                     Like · Reply ·      6 · 4 hrs

                                                                                 Jerrot Robinson replied · 1 Reply
  English (US) · Privacy · Terms · Cookies · Advertising · 
  Ad Choices  · More                                                 Shawn Mayhew Risking a 250k dollar fine from Fox, you're brave
  Facebook © 2016                                                    Like · Reply ·      1 · 3 hrs

                                                                     Nelson De La Fe Reported.
                                                                     Like · Reply · 1 hr

                                                                                 Nelson De La Fe replied · 4 Replies · 21 mins


                                                                        Write a comment...



                                                                        Tre­Von M. King
                                                                        February 20 at 8:08pm · 

                                                              DEADPOOL (2016) FULL MOVIE WITH GOOD AUDIO ​
                                                                                                         #L
                                                                                                          ​IKE ​
                                                                                                               #S
                                                                                                                ​HARE
                                                              #C
                                                              ​​OMMENT
                                                                                                                                 Chat (Off)




                                                                 Like            Comment                   Share

                                                              52,210 people like this.

                                                              31,196 shares

                                                              View previous comments                                                          654 of 61,691
                                                                     Kyra Taylor Kyra Taylor
                                                                     Like · Reply · 9 mins
                                                                     Kierre Garrett George Bockleslaugh Jon Duffy
                                                                     Like · Reply · 9 mins
                                                                     Miguel Berroteran lmao srsly mate
                                                                     Like · Reply · 9 mins

                                                                     Ashlynn Adame Stephen Merrell
                                                                     Like · Reply · 9 mins
                                                                     Jorge Diaz Kalin Newkirk Jordan Dees
                                                                     Like · Reply ·      1 · 9 mins

                                                                     Pablo Adan Jimenez Carlos Zubia
                                                                     Like · Reply · 9 mins
                                                                     Daniel Cuevas Already watched it.. the wkend it came out
                                                                     Like · Reply · 9 mins

                                                                     Jake Walker Damyien Cassanova
                                                                     Like · Reply · 9 mins

                                                                     Lawens B. Joanis Wilder Cossier
                                                                     Like · Reply · 9 mins

                                                                     Sophia Smith Ralph Schueler
                                                                     Like · Reply · 9 mins


                                                                                                                                                TMPID00045
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 37 of 65 Page ID #:209

                                                         Tyra Bhaggan Alex Sahota
                                                         Like · Reply · 9 mins

                                                               Jorge Diaz Jorge Diaz
                                                               Like · Reply · 9 mins

                                                               Derrow Montana I just watched this whole movie
                                                               Like · Reply · 9 mins
                                                               Josh Pettibone lol reported
                                                               Like · Reply · 9 mins
                                                                    Brandon Blackwell You little bitch
                                                                    Like · Reply · 8 mins

                                                                    Brandon Blackwell Just enjoy the fuckin thing cunt
                                                                    Like · Reply · 8 mins
                                                                   View more replies

                                                                     Write a reply...


                                                               Jakeem Jackson Tushar Malhotra since u haven't seen it, here you go
                                                               Like · Reply · 9 mins
                                                               Carleton Murphy III Jeff French
                                                               Like · Reply · 9 mins

                                                               StemListic Fame Love!
                                                               Like · Reply · 9 mins
                                                               Michael Guaderrama Anthony Guaderrama Mario C Guaderrama Jr.
                                                               Like · Reply · 9 mins
                                                                    Anthony S. Viace Damir Hasty
                                                                    Like · Reply · 8 mins

                                                                     Write a reply...


                                                               Howard Jablomi Ds Nutz
                                                               Like · Reply · 9 mins
                                                               Michael Rashard Andrews Roe Robertson Const
                                                               Like · Reply · 9 mins
                                                               Jessica Taylor Bryan D'Sylva
                                                               Like · Reply · 9 mins
                                                               Jake Walker Jasmine Walker
                                                               Like · Reply · 9 mins
                                                               Trustin Lewis KyLen PhIllips
                                                               Like · Reply · 9 mins
                                                               Alexander Velasquez Johncarlos Velasquez
                                                               Like · Reply · 9 mins

                                                               Jeremy Shacklock Justin DeFreese
                                                               Like · Reply · 9 mins

                                                               Chelsea Chuck Carpenter Brittany Checkoutmycoolnewname Osborn
                                                               Like · Reply · 9 mins

                                                               Jordan Croft Ryan Croft Aaron Croft its also on rainierland.com

                                                                                   Rainierland | Collection of my favorite TV
                                                                                   series | video streaming collection

                                                                                   RAINIERLAND.COM

                                                               Like · Reply · 9 mins

                                                               Mike Van Brum Daniel Provenzano
                                                               Like · Reply · 9 mins
                                                               Shahzaib Ali Moosa Siddique Billu Smalls Humzah Asad
                                                               Like · Reply · 9 mins

                                                               Victoria Nicole Williams If you want to watch it again Kyle Miller
                                                               Like · Reply · 9 mins
                                                               Keanu Rangel Julian Argumedo Austin Doyle
                                                               Like · Reply · 9 mins

                                                                                                                                     TMPID00046
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 38 of 65 Page ID #:210

                                                         Valerie Ioane Suai Mose
                                                         Like · Reply · 9 mins

                                                               Amy Clark Alex Laubach no need to make that cinema trip now. Night is sorted
                                                               Like · Reply · 9 mins

                                                               George Puente Pancho Castillo
                                                               Like · Reply · 9 mins
                                                               Cam Green Darwell
                                                               Like · Reply · 9 mins

                                                               Jake Inskeep Logan Inskeep
                                                               Like · Reply · 9 mins

                                                               Jay Scott Cory Wilson Cory Wilson
                                                               Like · Reply · 8 mins

                                                               Luwanis Velez Valentin Misakiee Ortiz
                                                               Like · Reply · 8 mins
                                                               Austin Middleton Rebecca Middleton
                                                               Like · Reply · 8 mins
                                                               Melissa Gallegos Giselle Ventura
                                                               Like · Reply · 8 mins

                                                               Alan Lopez Sergio Fitz Mike Pita
                                                               Like · Reply · 8 mins
                                                               Steven Joel Marmolejo Paul Rodriguez
                                                               Like · Reply · 8 mins
                                                               Blake Archer Liam Bolton
                                                               Like · Reply · 8 mins

                                                               Duke Mrduked Robinson Shantarra Dixon Robinson
                                                               Like · Reply · 8 mins
                                                               Dante Scott Roland Walker Tim English
                                                               Like · Reply · 8 mins
                                                               Sabrina Dauer Gregg Dauer this is very illegal.
                                                               Like · Reply ·    1 · 8 mins
                                                               Michael Guaderrama Schon James Smith
                                                               Like · Reply ·    1 · 8 mins
                                                               George Puente Jamie Puente
                                                               Like · Reply · 8 mins

                                                               Rj Haig Arlene Tuari
                                                               Like · Reply · 8 mins
                                                               Lewis Slater Bradley Slater
                                                               Like · Reply · 8 mins
                                                               Savion Brown Von Brown Jr.
                                                               Like · Reply · 8 mins
                                                               Keegan Peacock Eleasha VanBommel
                                                               Like · Reply · 8 mins

                                                               Tayler Burns Josh
                                                               Like · Reply ·    1 · 8 mins
                                                               Rachel Ann Crismon Aro Vaas De­Gothia
                                                               Like · Reply ·    1 · 8 mins
                                                                    Aro Vaas De­Gothia ty!
                                                                    See Translation
                                                                    Like · Reply · 6 mins

                                                                     Write a reply...


                                                               Tyler Meza Anthony Lerma
                                                               Like · Reply · 8 mins

                                                               Vince Valdez Clint Crane
                                                               Like · Reply · 8 mins

                                                               Chris Ruffino Heather Marie !
                                                               Like · Reply · 8 mins


                                                                                                                                   TMPID00047
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 39 of 65 Page ID #:211

                                                         Zeke Torres Sarah Torres they really have the whole movie on here
                                                         Like · Reply · 8 mins
                                                               Michael Guaderrama Andrew Robert Tollison
                                                               Like · Reply · 8 mins

                                                               Jackie Tranter­Skiles Ryan Reynolds
                                                               Like · Reply · 8 mins

                                                               Jack Rogers Char Smith Jodie May Ollie Pennells this is how I watched
                                                               deadpool
                                                               Like · Reply · 8 mins

                                                               Nathan Foster David Jeffrey Daniel 
                                                               Like · Reply · 8 mins
                                                               Miriam Cirne Brianda Garcia since you wanted to see it lol
                                                               Like · Reply · 8 mins

                                                               Oliver Rojas Holy crap, watch it before it gets removed...
                                                               Like · Reply ·    3 · 8 mins
                                                               Gabriellah DeWitt Shaheed Mahar
                                                               Like · Reply · 8 mins

                                                               Stephen Hamilton Daryl Pryor Ashanti Robinson Roman S. Pyasik Toya
                                                               Graham­jones Stuart Todd Gennetha Williams Tahsha Mitchell Moe D Davis
                                                               Darky Dark Rissa Favored Hazelwood Monique Collins Cai W Stuart Mrz Sierra
                                                               Nicole Kerrin BassChristopher Lytello Chrissy Parham Frank Muhammad
                                                               Like · Reply · 8 mins

                                                               Nauticaa Beasley Kacie FultonA Movie To Watch
                                                               Like · Reply · 8 mins
                                                               Chris Ruffino Rob White
                                                               Like · Reply ·    1 · 8 mins

                                                               Michael Bennett Benny lol
                                                               Like · Reply · 8 mins
                                                               Kylie McConville I
                                                               Like · Reply · 8 mins
                                                               Kenneth Donovan Brian Davis
                                                               Like · Reply ·    1 · 8 mins
                                                                    Brian Davis Might have to wait for imax bud haha
                                                                    Like · Reply · 7 mins

                                                                     Write a reply...


                                                               Raymon Montez Wtf?? Kristin Nikkole Ana Marie this will be taken down for
                                                               sure!
                                                               Like · Reply · 8 mins
                                                               Hunter Phillips Brandon Holland
                                                               Like · Reply · 8 mins
                                                               Christian Lira Ashley
                                                               Like · Reply ·    1 · 8 mins

                                                               Nathan Foster Wayne Elton
                                                               Like · Reply · 8 mins
                                                               Jake Finnon Ryan Hill Oliver Deschamps
                                                               Like · Reply · 8 mins
                                                                    Ryan Hill How is this allowed on FB 
                                                                    Like · Reply · 7 mins
                                                                    Jake Finnon Hahah don't know
                                                                    Like · Reply · 5 mins

                                                                     Write a reply...


                                                               Bryan Isabal Grant Race 
                                                               Like · Reply · 8 mins

                                                               Hector Montes Jorge Martinez
                                                               Like · Reply · 8 mins

                                                               Jason Oakley Holly Pertuit
                                                               Like · Reply · 8 mins

                                                                                                                                   TMPID00048
https://www.facebook.com/trevon.franklin.33?fref=photo                                                                                          38/64
2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 40 of 65 Page ID #:212

                                                         Tripp Tompson Katie Stone
                                                         Like · Reply · 8 mins
                                                               Stephen Hamilton Darren Artis Hamilton
                                                               Like · Reply · 8 mins

                                                               Kamal Gully­Side Abdi Abdigani Abdulle där kolla på den
                                                               See Translation
                                                               Like · Reply · 8 mins

                                                               Jake Walker Osamah Orlebar
                                                               For the overnight at work          ὢ
                                                               Like · Reply · 8 mins

                                                               Michael Kimbrew
                                                               http://www.amazon.com/.../B01.../ref=s9_simh_gw_g318_i1_r...

                                                                                   Watch Tons Of Love () online ­ Amazon
                                                                                   Video

                                                                                   AMAZON.COM

                                                               Like · Reply · 8 mins

                                                               Tushig Zolboo С. Энхсуварга
                                                               Like · Reply · 8 mins

                                                               Jillian Tentindo D.j. Hamilton
                                                               Like · Reply · 8 mins
                                                               Toly Melnik He's just trying to become famous
                                                               Like · Reply · 8 mins
                                                               Latoiya Jones Mario Johnson
                                                               Like · Reply · 8 mins

                                                               Jeramie Borges Ian Rourke Brandon Doucet Flavio Pereira
                                                               Like · Reply · 8 mins
                                                               Kia Martina Lol we coulda watched it here Chase Lee Nelson 
                                                               Like · Reply · 7 mins · Edited
                                                               Adam Sutti Jeremiah Airehart
                                                               Like · Reply · 8 mins
                                                               Josh Smith Jack Base
                                                               Like · Reply · 8 mins
                                                               Ryan Rausch Trystan Leigh Hughes we could always watch it now...
                                                               Like · Reply · 8 mins

                                                               Rudy Steven Quevedo Ryan Daniel Bautista peep it
                                                               Like · Reply · 8 mins
                                                               Cody Collins Austin Launer
                                                               Like · Reply · 8 mins

                                                               Remy Colin Jon Geiger
                                                               Like · Reply · 6 mins · Edited

                                                               Josh Herrington Naomi Smith Ieuan Riggs
                                                               Like · Reply · 8 mins

                                                               Holly Wykert 20th Century Fox Marvel Stan Lee
                                                               Like · Reply ·    1 · 8 mins
                                                                    Jujitsu Carlo Lmao snitch
                                                                    Like · Reply · 6 mins

                                                                     Write a reply...


                                                               Gary Gonçalves Navin
                                                               Like · Reply · 8 mins

                                                               Brian Velazquez Jorge Gutierrez
                                                               Like · Reply ·    1 · 8 mins
                                                                    Jorge Gutierrez Wonder how long it will last lol
                                                                    Like · Reply · 5 mins

                                                                     Write a reply...




                                                                                                                                  TMPID00049
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 41 of 65 Page ID #:213

                                                         Emily Bernhardt Jackson Golby
                                                         Like · Reply · 8 mins

                                                               Leslie Yanez Bryan Contreras
                                                               Like · Reply ·    1 · 8 mins
                                                                    Bryan Contreras I saw this yesterday 
                                                                    Like · Reply ·      1 · 7 mins

                                                                     Write a reply...


                                                               Charlton Mungin this is fucked up... One movie worth paying for and this
                                                               happens
                                                               Like · Reply ·    3 · 8 mins

                                                               Arron Watson Time to spoil the movie ὠὠ

                                                               ****SPOILER ALERT*******... See More
                                                               Like · Reply · 8 mins
                                                               Dary Galeano Katherine Milena show pachu
                                                               See Translation
                                                               Like · Reply · 8 mins

                                                               Sydnee Williams Mike Nemo West since you wont take me..........:....
                                                               Like · Reply · 8 mins
                                                               Sistine Mack Jorge Reyes
                                                               Like · Reply · 7 mins
                                                               Callan Cummins Mark Verhey O'Shea niceone
                                                               Like · Reply · 7 mins
                                                               Jessica L VanCuylenburg Jordan Samuel Allen 
                                                               Like · Reply · 7 mins · Edited
                                                               Henry S Dulay Tony Austin someone put the whole movie on here lmaoooo
                                                               Like · Reply ·    1 · 7 mins
                                                               Cory Jay Hilton Kaycee Grace Burke
                                                               Like · Reply · 7 mins
                                                               Ian Pearson Jacob Robertson
                                                               Like · Reply · 7 mins
                                                               Cindy Ono Joel Sandoval lol
                                                               Like · Reply ·    2 · 7 mins
                                                               Jose El Chivo Quintero Bryan Hernandez
                                                               Like · Reply · 7 mins
                                                               Alex Tapuai Nico Dometakis lol
                                                               Like · Reply · 7 mins

                                                               Tisha Benard Kagami Taiga
                                                               Like · Reply · 7 mins

                                                               Randal Haggard Yes, that audio was great, I can hear everybody in the theater
                                                               Like · Reply ·    3 · 7 mins
                                                                    David Marquis Lmao
                                                                    Like · Reply ·      1 · 7 mins

                                                                     Write a reply...


                                                               Chris Weiss Chris Johnston looky hooky...
                                                               Like · Reply · 7 mins
                                                               Brian Baires Taylor Kincaid
                                                               Like · Reply · 7 mins
                                                               Euan Bar Brady Jack Hunter
                                                               Like · Reply ·    1 · 7 mins

                                                               Robert Mullins Ronald Reed
                                                               Like · Reply · 7 mins
                                                               Amanda Robinson Matthew
                                                               Like · Reply · 7 mins

                                                               Sam Clark Estefanny Lasso
                                                               Like · Reply · 7 mins



                                                                                                                                      TMPID00050
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 42 of 65 Page ID #:214

                                                         Juliana Solace just wait for it on DVD. this quality sucks lol
                                                         Like · Reply · 7 mins
                                                               Irvin Saavedra Cecilia
                                                               Like · Reply · 7 mins

                                                               Hildana Ciser Justin Ciser
                                                               Like · Reply · 7 mins

                                                               Ethan Stone Clark Phan check it out hd!
                                                               Like · Reply · 7 mins

                                                               Brenden Crabbe James Contes here you go
                                                               Like · Reply · 7 mins
                                                                    James Contes This legit?
                                                                    Like · Reply · 6 mins

                                                                    Brenden Crabbe Yeah lol looking at all the comments lol but the
                                                                    qualities shit
                                                                    Like · Reply · 4 mins

                                                                     Write a reply...


                                                               Jimmie Faulkner Sacha Parker
                                                               Like · Reply · 7 mins
                                                               Phil Davis Robert Davis
                                                               Like · Reply · 7 mins
                                                               Stan Sosa Ross Sade Campbell
                                                               Like · Reply · 7 mins
                                                               Anton Williams Six Seven Kitc
                                                               Like · Reply · 7 mins
                                                               Mike Burns Chad William
                                                               Like · Reply · 7 mins

                                                               Andrew Cyprus Rodwell Ndlovu
                                                               Like · Reply · 7 mins
                                                               Adrian Manzanares Alexis Jones
                                                               Like · Reply · 7 mins
                                                               Jason Chamberlain This should be reported. Go to the theaters and support
                                                               Deadpool the right way!
                                                               Like · Reply ·    3 · 7 mins
                                                                    Matt Boswell Any other movie I wouldn't care but damnit we need that
                                                                    sequel
                                                                    Like · Reply · 6 mins

                                                                     Write a reply...


                                                               Mike Raspanti Dylan Marhafer
                                                               Like · Reply · 7 mins

                                                               Emaze Howerton Johanna Roth
                                                               Tosh Kapidzic Fulton
                                                               Like · Reply · 7 mins

                                                               Steven Gabur Alexander Iriarte hahaha
                                                               Like · Reply · 7 mins

                                                               Eddy Macchione Cody Maranto jesus christ this is real
                                                               Like · Reply · 7 mins

                                                               Cody Ruth Tai Thomas Jaiden VanHoesen Kris Van Hoesen 
                                                               Like · Reply · 7 mins

                                                               Nick Ainsley Brandon Williams
                                                               Like · Reply · 7 mins

                                                               Elizabeth Dianne Price Fav movie (not for child's eyes though) lol
                                                               Like · Reply ·    1 · 7 mins
                                                               Adrian Manzanares Mariah Luna
                                                               Like · Reply · 7 mins
                                                               Nikkiisa Whitfield Thank you
                                                               Like · Reply · 7 mins


                                                                                                                                      TMPID00051
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 43 of 65 Page ID #:215

                                                         Michael Gahr Sylvia RodriguezJose Mejia coulda saved money
                                                         Like · Reply ·    1 · 7 mins

                                                               Eamonn Gillan Aoibheann Maddy
                                                               Like · Reply · 7 mins

                                                               Richard CampBell Tyler Hughes
                                                               Like · Reply · 7 mins
                                                               Justin Weber Dion Wills­Watkins
                                                               Like · Reply · 7 mins

                                                               Răzvan Teioşanu Eduard Cosmin Alin Sergiu
                                                               Like · Reply · 7 mins
                                                                    Sergiu Papaghiuc 
                                                                    Like · Reply · 5 mins

                                                                    Răzvan Teioşanu Merje 
                                                                    Like · Reply · 4 mins
                                                                   View more replies

                                                                      Write a reply...


                                                               Hervey Gamez Ale Hernandez there you go
                                                               Like · Reply · 7 mins

                                                               Kione Lidè Kane Lidè
                                                               Like · Reply · 7 mins
                                                               Miguel Francisco Mabutol Malkiel
                                                               Like · Reply · 7 mins

                                                               Jesse James Melissa Rodriguez
                                                               Like · Reply · 7 mins
                                                               Lindsey Marie Kenny Raphael
                                                               Like · Reply · 7 mins
                                                               Wellsy Well B
                                                               Like · Reply · 7 mins
                                                               Océane Pinot Anne­Sarah Mrn Drvlh 
                                                               Like · Reply · 7 mins

                                                               Ben Batenhorst Lataran Berrios
                                                               Like · Reply · 7 mins
                                                               Conner Petrie Murray Harris
                                                               Like · Reply · 7 mins
                                                               Carrie Michael Scott Patterson
                                                               Like · Reply · 7 mins

                                                               Jared Zaworski Jacob Adams this guy is the real mvp
                                                               Like · Reply · 7 mins

                                                               Shane Open Todd Greenland
                                                               Like · Reply · 7 mins

                                                               Justin John Kuether Elizabeth Martin
                                                               Like · Reply · 7 mins

                                                               Rob Towler Umairah Miah
                                                               Like · Reply · 7 mins
                                                               Travis May Travis May
                                                               Like · Reply · 7 mins
                                                               Mike Jones Corey Zerrer
                                                               Like · Reply · 7 mins

                                                               Cord James




                                                                                                                      TMPID00052
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 44 of 65 Page ID #:216




                                                         Like · Reply ·    6 · 7 mins
                                                              Derrick DC Carrington




                                                              Like · Reply · 5 mins
                                                              Cord James




                                                              Like · Reply · 1 min

                                                               Write a reply...


                                                         Charlie Hillerman Alesha McCluskey
                                                         Like · Reply · 7 mins
                                                         Matt Boswell Kymberli Nykkol
                                                         Like · Reply · 7 mins

                                                         Cassy Lee Aaron Eubanks Zack Eubanks
                                                         Like · Reply · 7 mins

                                                         Sebastian Pierce Reeve Josh Watkins
                                                         Like · Reply · 6 mins
                                                         Shakira Tucker Yall still should go buy the movie for support
                                                         Like · Reply ·    2 · 6 mins

                                                         David Henry Jack Harden
                                                         Like · Reply · 6 mins
                                                         David Peck Alic Schrader
                                                         Like · Reply · 6 mins
                                                         Paul Brian Agreda Joselin Kuro Agreda Jose Joseph Agreda Jonathan Agreda
                                                         Like · Reply · 6 mins

                                                         Davinder Cheema Ruby Wu
                                                         Like · Reply · 6 mins
                                                              Ruby Wu want to watch it again?
                                                              Like · Reply · 6 mins

                                                               Write a reply...


                                                                                                                         TMPID00053
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 45 of 65 Page ID #:217

                                                         Alexandra Peña Mike Peltier... Soooo sad this movie was ruined. #Deadpool
                                                         Like · Reply · 6 mins

                                                               Jasmine Park Jessica Park if you bored at work lol
                                                               Like · Reply · 6 mins
                                                               Andrew Wilson 
                                                               Like · Reply · 6 mins

                                                               Timothy Litondo Willis LeNoir
                                                               Like · Reply · 6 mins
                                                               Nel Harris Chad Free
                                                               Like · Reply · 6 mins

                                                               David Henry Tyler Richards
                                                               Like · Reply · 6 mins

                                                               Felipe Hernandez Luis Hernandez
                                                               Like · Reply · 6 mins
                                                               Jared Andrews Jonathan Theodat
                                                               Like · Reply · 6 mins

                                                               Lawrence Santos Tuano Dominic FrostRonald Tuano
                                                               Like · Reply ·    1 · 6 mins

                                                               Travis Nopah Mayra Pierce Brendon Munhall Jess Pierce Marzo Rico Melissa
                                                               Nopah Monica Bryan Garcia Keith Jenkins Sr. Toby Ramos
                                                               Like · Reply · 6 mins
                                                               David Henry John Tyler Davis
                                                               Like · Reply · 6 mins
                                                               Daniel Palfreyman Steve Palfreyman
                                                               Like · Reply · 6 mins
                                                               Holly Wykert 20th Century Fox Marvel Stan Lee
                                                               Like · Reply ·    2 · 6 mins
                                                                    Cecilia Bolognese 
                                                                    Like · Reply · 4 mins

                                                                     Write a reply...


                                                               Josue Avalos Giovanni Navarro
                                                               Like · Reply · 6 mins
                                                               Gabe Wilson Arik Wilson
                                                               Like · Reply · 6 mins

                                                               Danny Mckiernan Tom White 
                                                               Like · Reply · 6 mins

                                                               Camille Speir Landon McFarland
                                                               Like · Reply · 6 mins
                                                               Ashley Griffin Someone's getting fined and prison lol
                                                               Like · Reply · 6 mins

                                                               Urissa Curley Shaundeen Atene
                                                               Like · Reply · 6 mins

                                                               Chester Clarke Callan Bryant
                                                               Like · Reply · 6 mins
                                                                    Callan Bryant NO
                                                                    Like · Reply · 1 min

                                                                    Callan Bryant I SHALL WATCH IT LEGALLY
                                                                    Like · Reply · Just now

                                                                     Write a reply...


                                                               Garret Braddy Tavis Powers Travis L Myles Sasha Johnson Devon Paxton
                                                               Like · Reply · 6 mins

                                                               Billy Paradis Victor Santiago I got u
                                                               Like · Reply · 6 mins

                                                               Bryant Wilson Brandy Niswanger
                                                               Like · Reply · 6 mins



                                                                                                                                 TMPID00054
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 46 of 65 Page ID #:218

                                                         Dewey Namee Becca Michelle
                                                         Like · Reply · 6 mins

                                                               Stephany Interiano Jake Rapier Piotr Gocek Max WayneNatsu Dragneel
                                                               Like · Reply · 6 mins
                                                               Nina Hawk Valencia Boone
                                                               Like · Reply · 6 mins

                                                               Jose Rivera Parker Hanna
                                                               Like · Reply · 6 mins

                                                               Anthony Mcintosh Kashious McKinley
                                                               Like · Reply · 6 mins

                                                               Jared Loehr This is the most deadpool thing any person can do
                                                               Like · Reply · 6 mins
                                                               Brady Collins Antoine Kirkland, J.t. Stevens Katie Rivers, Xavier Berry
                                                               Like · Reply · 6 mins

                                                               Brady Bykowski Mike Camerato
                                                               Like · Reply · 6 mins
                                                                    Mike Camerato Is this actually it?
                                                                    Like · Reply · 5 mins

                                                                    Brady Bykowski idk I haven't seen the movie yet I would just skip
                                                                    through to make sure
                                                                    Like · Reply ·      1 · 4 mins
                                                                   View more replies

                                                                     Write a reply...


                                                               Willis LeNoir Timothy Litondo rahhh maaaad
                                                               Like · Reply · 6 mins

                                                               Ross Gilliam Lol the beauty of bootleg
                                                               Like · Reply · 6 mins
                                                               Raul Garcia Here so u won't spend money Mark Alex Garcia
                                                               Like · Reply · 6 mins

                                                               Jeff Kemper John Caldwell Sead Velic
                                                               Like · Reply · 6 mins
                                                               Marquis Dixon Michael Piccolino Joseph Spensieri
                                                               Like · Reply · 6 mins
                                                               Cristina Lopez Angie Lopez
                                                               Like · Reply · 6 mins
                                                               Ashley Huxta Draven Miller
                                                               Like · Reply · 6 mins
                                                               David Ulibarri Kaleb Gamble Terrill Johnson
                                                               Like · Reply · 6 mins

                                                               Isak Alvarez Daniel Verdugo
                                                               Like · Reply · 6 mins
                                                               Jason Padua Christian De Los Santos Labinot Visoka
                                                               Like · Reply · 6 mins

                                                               Christopher Hall Brian Greene
                                                               Like · Reply · 6 mins
                                                               Jeremiah Perry Devante Harris
                                                               Like · Reply · 6 mins

                                                               Clarence Hairston Angel Mendez
                                                               Like · Reply · 6 mins

                                                               Mayra Alejandra Treviño Carolina Jara
                                                               Like · Reply · 6 mins

                                                               Joshua Whetstone Jacqueline Mendoza
                                                               Like · Reply · 6 mins

                                                               Brandon Ashton Lucia Lioveri
                                                               Like · Reply · 6 mins

                                                               Donovan Michael Stolp for sure reporting this shit
                                                               Like · Reply ·    1 · 6 mins
                                                                                                                                         TMPID00055
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 47 of 65 Page ID #:219
                                                              Edgar Delaluz U a bitch. U need some pussy
                                                              Like · Reply · 4 mins

                                                              Donovan Michael Stolp You offering yours? Bitch.
                                                              Like · Reply · Just now

                                                               Write a reply...


                                                         Lesly Villegas Mario Rico Luis G Vargas .____.
                                                         Like · Reply ·    1 · 6 mins

                                                         Nick Bryan Serria Bryan
                                                         Like · Reply ·    1 · 6 mins

                                                         Will Nwaokolo Tony Nwaokolo wow the whole movie 
                                                         Like · Reply ·    1 · 6 mins

                                                         Ruben Ochoa Samantha Jo Maldonado
                                                         Like · Reply · 6 mins

                                                         Jessica Coleman Leanne Coleman
                                                         Like · Reply · 6 mins

                                                         Claudia Boyo Jamie Boyo
                                                         Like · Reply ·    1 · 6 mins

                                                         Nino Bruno Vincent Bruno
                                                         Like · Reply · 6 mins
                                                         Morgan Dixon Ian Dixon
                                                         Like · Reply · 6 mins

                                                         Dylan Solomon         Breyanne Harker who needs to spend money at the fucking
                                                         theaters
                                                         Like · Reply · 6 mins
                                                              Breyanne Harker Movie Theaters? What is that??? lmao ... All
                                                              bootlegged movie for movie nights yee
                                                              Like · Reply · 4 mins

                                                              Dylan Solomon   just bring by the popcorn. See shadows of people
                                                              walk across the screen haha
                                                              Like · Reply · 3 mins
                                                             View more replies

                                                               Write a reply...


                                                         Kaitlin Berdan Logan Cotton Krista McEwen Kaitlin Berdan look at this
                                                         Like · Reply · 6 mins

                                                         Britt Green Pj James
                                                         Like · Reply ·    1 · 5 mins
                                                         Olivier Marchessault Samuel Guay
                                                         Like · Reply ·    1 · 5 mins
                                                              Samuel Guay Ah bin caline
                                                              See Translation
                                                              Like · Reply · 5 mins

                                                              Olivier Marchessault eheheh
                                                              See Translation
                                                              Like · Reply · 4 mins

                                                               Write a reply...


                                                         Gio Francois Christopher Alexander bruh
                                                         Like · Reply · 5 mins

                                                         Zoey Nikole Danny Stern
                                                         Like · Reply · 5 mins
                                                         Austin Niemeyer Michael Barker
                                                         Like · Reply · 5 mins

                                                         Pepz Salcedo Free movie folks share the shit out of this put theater out business
                                                         for a week lol
                                                         Like · Reply · 5 mins

                                                         Zack Kettle Madisyn Campbell
                                                         Like · Reply · 5 mins

                                                         Gage Gordon Goff Jezel Jezel Miah Dougherty
                                                         Like · Reply · 5 mins
                                                                                                                                 TMPID00056
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 48 of 65 Page ID #:220
                                                         Chris Breezy Why
                                                         Like · Reply · 5 mins

                                                         Andres Martinez Victor Martinez Gilberto Carbajal Brian Torres. Youre
                                                         welcome ice
                                                         Like · Reply · 5 mins · Edited
                                                         Tia Willis Xavier Salone
                                                         Like · Reply · 5 mins
                                                              Tia Willis They already starting to report it lol
                                                              Like · Reply · 5 mins

                                                               Write a reply...


                                                         Alejandro Moncada Carlito Rodriguez
                                                         Like · Reply · 5 mins

                                                         Maddie Spencer Noah Zahradnik oh my god...
                                                         Like · Reply · 5 mins
                                                         Juli Tobar Inspirati Art
                                                         Like · Reply · 5 mins

                                                         Jack Scott Tony Thomson
                                                         Like · Reply ·    1 · 5 mins
                                                         Bryan DjMagnum Evans Lmao at people tagging the FBI, Marvel and Fox.....lol
                                                         Like · Reply ·    1 · 5 mins
                                                         John Vazquez Nick Michael Doerrig
                                                         Like · Reply · 5 mins
                                                         Corinna Brown Scottie Facyson is this really the full movie??
                                                         Like · Reply · 5 mins
                                                         Ivonne AO Hernandez Alexis didn't you want to watch this movie?
                                                         Like · Reply · 5 mins
                                                         David Peck Michael Rodriguez
                                                         Like · Reply · 5 mins
                                                         Juan Torres Joel Torres
                                                         Like · Reply · 5 mins
                                                         Sarah Brinkman Brett brinkman
                                                         Like · Reply · 5 mins
                                                         Kristopher Torres Nick Taylor since I know you going to take forever to watch it
                                                         here you go
                                                         Like · Reply · 5 mins
                                                         Brent Michael Gibson Edward Aguilar
                                                         Like · Reply · 5 mins
                                                         Hamish Stewart Connor Redgrave Charlie G Nicol
                                                         Like · Reply · 5 mins

                                                         John Vazquez Edgar Torres
                                                         Like · Reply · 5 mins
                                                         Margo Llontop Romero­Lovo Jesús Suárez
                                                         Like · Reply · 5 mins
                                                         Leslie Morales Pops this is it Jose Morales
                                                         Like · Reply · 5 mins

                                                         Cecy Rodriguez Chavez Amy Sanchez here u go
                                                         Like · Reply · 5 mins

                                                         Samantha Silvestri Michael Cardona
                                                         Like · Reply ·    1 · 5 mins

                                                         David Marquis Fbi is not going to like this ...watch yourself
                                                         Like · Reply · 5 mins

                                                         Briar Williams Brandon
                                                         Like · Reply · 5 mins

                                                         You Thao Tracy Lee
                                                         Like · Reply · 5 mins
                                                         Mel Lisa Marie BigLou Staygrinding Fuentes
                                                         Like · Reply · 5 mins
                                                         Daniel Meeks Chelsea Walker the hold movie 
                                                         Like · Reply · 5 mins
                                                                                                                                 TMPID00057
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 49 of 65 Page ID #:221
                                                              Chelsea Walker People play too much! 
                                                              Like · Reply · 3 mins

                                                               Write a reply...


                                                         Katerinne Davila Erick Orellana
                                                         Like · Reply · 5 mins

                                                         Eddie Osorio Go spend the fucking 8 bucks and watch the real thing.
                                                         Like · Reply ·    4 · 5 mins

                                                         Chris Gillette Jacob Summers
                                                         Like · Reply · 5 mins
                                                              Jacob Summers Saw it last night lol
                                                              Like · Reply ·      1 · 4 mins

                                                               Write a reply...


                                                         Donna Vanpool Lawrence 24 hours ago this would have saved me $20...lol
                                                         Like · Reply ·    1 · 5 mins
                                                         Paige Mundo Kitti Bo Chuenmanoot
                                                         Like · Reply · 5 mins
                                                         Javier Reveron Adam Goldberrg watch what we missed. Not much
                                                         Like · Reply · 5 mins

                                                         Roger Mendez Hailey Marie
                                                         Like · Reply · 5 mins

                                                         Kimberley Pacher Tee
                                                         Like · Reply · 5 mins
                                                         Erick Santos Monica Marina Velez in case you wanna watch it again lol
                                                         Like · Reply · 5 mins
                                                         Jameson Rivera Iz Jr Narvaez Rusty Jesus Shackleford
                                                         Like · Reply · 5 mins
                                                              Iz Jr Narvaez U cant tagged me on something i already tagged u on
                                                              Like · Reply · 3 mins

                                                               Write a reply...


                                                         Mark Meucci Michael Oswalt
                                                         Like · Reply · 5 mins
                                                         Michaela Chamberlain Kylie Knisley
                                                         Like · Reply · 5 mins
                                                         Claire Elizabeth Cole Paul Cole
                                                         Like · Reply · 5 mins
                                                         Tom White Declan Fluin
                                                         Like · Reply ·    1 · 5 mins
                                                         Isaac Gentry Chelsey Mckimmy Benji Samaniego 
                                                         Like · Reply · 5 mins

                                                         Diamond Durantula McFarlane Mackenzie 
                                                         Like · Reply · 5 mins

                                                         Josh Day Freddie Ward
                                                         Like · Reply · 5 mins

                                                         Joshua Dittrich Austin Oropeza
                                                         Like · Reply · 5 mins

                                                         Robert Marcial Isabel McGuire
                                                         Like · Reply · 5 mins

                                                         Gordon Wheeler Jr. I don't think anyone is going 2 waste their time watching
                                                         such a good movie off of facebook for 1 and with bootleg quality for 2 it's not like
                                                         watching a ppv UFC fight on facebook
                                                         Like · Reply ·    1 · 5 mins

                                                         Treigh Alleyne Tyrell Martelly
                                                         Like · Reply · 5 mins

                                                         Gaby Pascual Evelyn Garcia Juli Mendoza Cindy Zamora save yourself some
                                                         money & watch it! Lol
                                                         Like · Reply · 5 mins


                                                                                                                                    TMPID00058
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 50 of 65 Page ID #:222

                                                         Morgan Dixon Scott Hendricks share to save a life
                                                         Like · Reply · 5 mins

                                                               Wade Wilson Ryan Reynolds
                                                               Like · Reply · 5 mins

                                                               Pepz Salcedo Free movie folks share the shit out of this put theater out business
                                                               for a week lol
                                                               Like · Reply ·    1 · 5 mins

                                                               GloBoy Flacco GloBoy Brazy
                                                               Like · Reply · 5 mins
                                                               Raudel Ruiz Abraham Avila Raiden Jgodda Mahon LMFAO
                                                               Like · Reply · 5 mins

                                                               Jacob Reamer Spencer Alisia
                                                               Like · Reply · 5 mins
                                                               Dakota L Apfel Kristopher Cade
                                                               Like · Reply · 5 mins

                                                               Nadege Guiho Camila Dias !!​
                                                                                          ​
                                                               Like · Reply · 5 mins

                                                               Javier Ramos Anfernee Romero
                                                               Like · Reply · 5 mins
                                                               Brian Alvarez Lizett Mejia watching it lol
                                                               Like · Reply · 5 mins
                                                               Edwin Elias Medina Cesar Soga hahahaha la subieron al FB
                                                               See Translation
                                                               Like · Reply · 5 mins
                                                               Cecilia Bolognese Veronica Henao­Perea
                                                               Like · Reply · 5 mins
                                                               Neon King Luis Rojas
                                                               Like · Reply · 5 mins
                                                               Travis Womach Kyle Townsend
                                                               Like · Reply · 5 mins
                                                               Cody Miltenberger Chris Miltenberger David Hurd
                                                               Like · Reply · 5 mins
                                                               Yassir Montoya Anthony Aj Mills
                                                               Like · Reply · 5 mins
                                                               Dan Phillips Darryl Lawrance
                                                               Like · Reply · 5 mins
                                                               David Quinn Joe Clack
                                                               Like · Reply · 5 mins

                                                               Caitlin Cahill Henry Robinson enjoy lol
                                                               Like · Reply ·    1 · 5 mins
                                                                    Henry Robinson Cheers I will do once I get home from seeing it at the
                                                                    cinema 
                                                                    Like · Reply ·      1 · 4 mins

                                                                     Write a reply...


                                                               Adrian R Medina Jacob Romero
                                                               Like · Reply · 5 mins

                                                               Juan Valencia Jose Valencia Victor Valencia
                                                               Like · Reply · 5 mins

                                                               Kyle McCullough Vernon Mccullough
                                                               Like · Reply · 5 mins
                                                               Maritza Pinto Jaime Pinto when you don't feel like paying $7 
                                                               Like · Reply ·    1 · 5 mins
                                                               Stefanie Lovesyuu Robert Tirbene
                                                               Hajar Benssouda


                                                               Like · Reply · 5 mins
                                                               Jordan Whyte Jordan Whyte
                                                               Like · Reply · 4 mins

                                                                                                                                      TMPID00059
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 51 of 65 Page ID #:223

                                                         Mardia Khan Nadira Akter lol
                                                         Like · Reply ·    1 · 4 mins
                                                                    Nadira Akter Thanks but can't watch this now 
                                                                    Like · Reply ·       1 · 3 mins

                                                                      Write a reply...


                                                               Ryan Pillow Damian Horton
                                                               Like · Reply · 4 mins

                                                               Juan Valencia Matthew Hardin Arturo Baez Baez
                                                               Like · Reply · 4 mins

                                                               Robert Ferrera Michael Salas Brett Shane Carlos Fernandez Steve Heinrich
                                                               you can watch dead pool here lol
                                                               Like · Reply · 4 mins
                                                               Christina Evans Chris Stone
                                                               Like · Reply · 4 mins

                                                               Louis Takacs Hunter Shots
                                                               Like · Reply · 4 mins

                                                               Malik Joyner I was seriously ready to turn my volume down in case of moaning


                                                               Like · Reply ·    1 · 4 mins
                                                               Amanda Schrimshear Aaron Smith
                                                               Like · Reply · 4 mins
                                                               Jack Derry Tom Bourne Cameron Hendy
                                                               Like · Reply · 4 mins
                                                               Alexander Ulisses Barraza Eduardo Cardenas Michael Draling Miguel Angel
                                                               Marin Anthony Batres
                                                               Like · Reply · 4 mins
                                                               Ronald Shoffner Caitlin Michelle Parks
                                                               Like · Reply · 4 mins
                                                               Stephen Palmer Scott Witheford
                                                               Like · Reply · 4 mins
                                                               Luis Rojo Cisco Aragon
                                                               Like · Reply · 4 mins
                                                               Reno Gourdine




                                                               Like · Reply ·    4 · 4 mins
                                                               Anamaria Mendoza Lol Mario D Treviño
                                                               Like · Reply · 4 mins

                                                               Chloé Gribble Greig Rollo 
                                                               Like · Reply · 4 mins

                                                               August August Tommy A. Flores
                                                               Like · Reply · 4 mins

                                                               Sarah Glassenbury Josh Cheesman
                                                               Like · Reply · 4 mins
                                                               Joe Krier Taylor Devenport
                                                               Like · Reply · 4 mins

                                                               Frank Hamel Destiny
                                                               Like · Reply · 4 mins
                                                               Cesar Garcia Alan Castillo Jajajaa
                                                               See Translation
                                                                                                                                   TMPID00060
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 52 of 65 Page ID #:224
                                                         Like · Reply · 4 mins
                                                         Delano BigBank Morgan Larry Valentine Chris Stephenson                 . Lml
                                                         now you can watch the full movie bros they Ohhdeee with this
                                                         Like · Reply · 4 mins

                                                         Rob Hamilton Or just download kodi
                                                         Like · Reply ·    1 · 4 mins

                                                         Daniela Suasnabar Michael Tran
                                                         Like · Reply · 4 mins
                                                         Rahnesha Brooks­Stafford Jenice Antwanette
                                                         James Brooks
                                                         Like · Reply · 4 mins

                                                         Adrian Zhèng Jesse Swadley just sign in on fb threw you Xbox and we watch it
                                                         or what?
                                                         Like · Reply · 4 mins
                                                              Jesse Swadley The quality is terrible tho
                                                              Like · Reply · 1 min

                                                               Write a reply...


                                                         Russ DeFord Michael Emerson DeFord
                                                         Like · Reply · 4 mins
                                                         Dallas Ellis Paul Najarian Kevin Fay
                                                         Like · Reply · 4 mins
                                                         Hannah Renee McInerney Dylan Hast
                                                         Like · Reply · 4 mins
                                                         Aimme Conchita Lopez Joey Hernandez
                                                         Like · Reply · 4 mins
                                                         Kiran Kalyan We paid $37 lol Konain Saiyed
                                                         Like · Reply · 4 mins
                                                         Mikki Mouusee Dane Gardener
                                                         Like · Reply · 4 mins
                                                              Dane Gardener Blood fb movies now 
                                                              Like · Reply · 3 mins

                                                               Write a reply...


                                                         Justin Ruiz Damien Ruiz
                                                         Like · Reply · 4 mins
                                                         Sampson Cowap Robbie Lambert
                                                         Like · Reply · 4 mins
                                                         Nino Bruno Mikayla Luthi
                                                         Like · Reply · 4 mins
                                                         Luke Morris Callum Brown
                                                         Like · Reply · 4 mins
                                                         Jackie Bernard Emily Hall so we can watch it over and over!!
                                                         Like · Reply · 4 mins

                                                         Tom Baldwin James Swain
                                                         Like · Reply · 4 mins
                                                         Xavier Salone Tia Willis a gotdamn shame
                                                         Like · Reply · 4 mins
                                                         Adam Werrett Connor Spooner
                                                         Like · Reply · 4 mins

                                                         Jason Anderson Joey Binks
                                                         Like · Reply · 4 mins
                                                         Tom Trofimchuk William Goley
                                                         Like · Reply ·    1 · 4 mins

                                                         'Rubbi Loeera Jajajajajajjauaua Missael Ortiz ni lo que pagamos 
                                                         See Translation
                                                         Like · Reply · 4 mins

                                                         Aj Franklin Patric Morrell
                                                         Like · Reply · 4 mins
                                                              Patric Morrell Nah I can't do it lol

                                                                                                                             TMPID00061
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 53 of 65 Page ID #:225
                                                              Like · Reply · 3 mins

                                                               Write a reply...


                                                         John Karanja Barrett Juhrend
                                                         Like · Reply ·    1 · 4 mins

                                                         Lowkeyy Ralphy Youngin Named Justin
                                                         Like · Reply · 4 mins

                                                         James O'Shea Jay Fisher Jimmy McGowan
                                                         Like · Reply · 4 mins

                                                         Nathan Forster Oh hey look, the whole dead pool movie. Jakeb Regan
                                                         Vinchenzo
                                                         Like · Reply · 4 mins
                                                         David Ulibarri Virgil Patlan II
                                                         Like · Reply · 4 mins

                                                         Bond Srida Charlie Longden
                                                         Like · Reply · 4 mins
                                                         Liam Condon Niall Phelan you're welcome
                                                         Like · Reply · 4 mins

                                                         Billy Paradis Vanessa Rocha
                                                         Like · Reply · 4 mins

                                                         Eric Bertoglio Brandon Brown
                                                         Like · Reply · 4 mins
                                                         Corey Hinchey Salvador Ficarra
                                                         Like · Reply · 4 mins
                                                         Joe Sorg Miles Bertkops
                                                         Like · Reply · 4 mins
                                                         Kenrie Cruz­Verdugo Ashley Nicole Smith I have already seen the movie
                                                         Like · Reply · 4 mins
                                                         Charlie Hillerman Granvel Burchett
                                                         Like · Reply · 4 mins
                                                         James Persinger Devin Baum
                                                         Like · Reply · 4 mins
                                                         Hector Miguel Ortega Torres Jonathan Salmeron
                                                         Like · Reply · 4 mins

                                                         Austin Sexton Phoenix Figueroa
                                                         Like · Reply · 4 mins
                                                         Drew Dutton Josh Penfield
                                                         Like · Reply · 4 mins
                                                         Mikeyy Ag John Castillo Josh Aguilera Robert Aguilera
                                                         Like · Reply · 4 mins

                                                         Dalia Snchz Julian Askew
                                                         Like · Reply · 4 mins
                                                         David Lemkay Darren BrandAmber CrossDonovan SmithBryanna Night­Hawk
                                                         Like · Reply · 4 mins

                                                         Dallas Perepelitza Derek Perepelitza Chris Daw
                                                         Like · Reply ·    1 · 4 mins

                                                         Shawn Warren Brown Elyza Elizondo Soto
                                                         Like · Reply · 4 mins

                                                         Nadege Guiho AnneCharlotte De la Briganderie Duc De la Briganderie
                                                         Like · Reply · 4 mins

                                                         Onikey Maria Meyers Dani
                                                         Like · Reply · 4 mins
                                                         John Platt Shannon Rogers
                                                         Like · Reply ·    1 · 4 mins
                                                              Shannon Rogers I know we're poor but damn hahahah
                                                              Like · Reply ·      1 · 3 mins

                                                               Write a reply...




                                                                                                                           TMPID00062
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 54 of 65 Page ID #:226

                                                         Luis Donaldo Delgado Eduardo Sierra
                                                         Like · Reply · 4 mins

                                                               Michelle Strauss Karen Alvarez without paying
                                                               Like · Reply · 4 mins
                                                                    Karen Alvarez               did you see it already
                                                                    Like · Reply · 2 mins

                                                                    Michelle Strauss Yeah ὢ James took me for Valentine's Day.
                                                                    Like · Reply · 2 mins
                                                                   View more replies

                                                                     Write a reply...


                                                               Kenrie Cruz­Verdugo #BossStatus
                                                               Like · Reply · 4 mins
                                                               Mone't Thomas Dudeeeeee this is so wrong Aleigha Tiara Collins
                                                               Like · Reply · 4 mins

                                                               Austin Araiza Valerie Estrada
                                                               Like · Reply · 4 mins
                                                               Chris Arn­Horn Lmfao just incase if you wanted to see it again but at home lol
                                                               April M. Loeza
                                                               Like · Reply · 4 mins

                                                               Micheal Denton Piracy is not a victimless crime 
                                                               Like · Reply · 4 mins

                                                               Melanie Mailman Christopher Walcer now we don't have to see it again 
                                                               Like · Reply · 4 mins
                                                               Ronnie Calzada Ronnie Calzada
                                                               Like · Reply · 4 mins
                                                               Shawn Warren Brown Michael Beltran
                                                               Like · Reply · 4 mins
                                                               Darren Phelps Jack
                                                               Like · Reply · 4 mins
                                                               Stacey Louise Oliver Barry John Oliver
                                                               Like · Reply · 4 mins
                                                               Holly Wykert To everyone calling me a snitch:

                                                               Yes that's exactly what I'm doing and I'm okay with that, this recording is a shitty
                                                               piece of asshat shit and I hope it's get taken down. If you think I'm butt hurt 
                                                                              shocker, i don't care. I know I'm being a nark. This cocky douche
                                                               deserves it 
                                                               Like · Reply ·    2 · 4 mins
                                                                    Trunks Off You a waste
                                                                    Like · Reply · 3 mins

                                                                     Write a reply...


                                                               Bruno Pedreira Rob Talai
                                                               Like · Reply · 4 mins

                                                               Briann Hairston Keith Hairston Kathialy Augustin Dionte Brogdon Lindsay
                                                               White
                                                               Like · Reply ·    1 · 3 mins
                                                                    Dionte Brogdon Saw it twice cuzzie
                                                                    Like · Reply · 2 mins

                                                                     Write a reply...


                                                               Shawn Warren Brown Travis Cloward
                                                               Like · Reply · 3 mins
                                                               Andy Gamez Areli Villa
                                                               Like · Reply · 3 mins
                                                               John Headcoachlawncrestlionspeewees Davis Andrew Davis Jose Rivera
                                                               Marcus Bowman Jerrell Williams Eric Davis
                                                               Like · Reply · 3 mins



                                                                                                                                          TMPID00063
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 55 of 65 Page ID #:227

                                                         Chris Valdivia Val Thanlom­Valdivia
                                                         Like · Reply · 3 mins
                                                               Paulina Ramirez Rogelio Sanchez
                                                               Like · Reply · 3 mins
                                                               Mike Kivlin Michael Coleman
                                                               Like · Reply · 3 mins

                                                               Colin Pribula Nick Tirabassi
                                                               Like · Reply · 3 mins

                                                               Paul Jr Smithers Desmond Walker
                                                               Like · Reply · 3 mins

                                                               Zack Porter Ronnie Bouchard
                                                               Like · Reply · 3 mins

                                                               Xitlally Ávila We don't even have to go to the movies anymore lol George
                                                               Castaneda
                                                               Like · Reply · 3 mins
                                                               Dana Lewis Autumn Rose Captain
                                                               Like · Reply · 3 mins
                                                               Olivia Ybarra Vicente Pete Urena lol
                                                               Like · Reply · 3 mins

                                                               Nico Smith Rich Whaler watch it before it goes Shaun Hayward Shell Bell
                                                               Richard Harris Daniel Barrow Kyle William Evans if ur intereested.
                                                               Like · Reply · 3 mins
                                                               Jordan Kay Colby Bodin
                                                               Like · Reply · 3 mins

                                                               Allison Dettmer Daniel Johnson
                                                               Like · Reply · 3 mins
                                                               Jennifer Mendoza Banda Miguel hella bootleg 
                                                               Like · Reply · 3 mins
                                                               Yassir Montoya Victor Gomez
                                                               Like · Reply · 3 mins
                                                               Erick Aguilar @FBI
                                                               Like · Reply ·    2 · 3 mins
                                                               Tyler Schroeder Remy Kellogg Jake Faulkner Cole Williams Mitchell Wilson
                                                               Like · Reply · 3 mins
                                                               Gordon Sutherland James Hamilton full movie
                                                               Like · Reply · 3 mins
                                                               Wesley Jackson Holden Gonzales
                                                               Like · Reply · 3 mins
                                                               Travis Laymon Illegal!
                                                               Like · Reply ·    1 · 3 mins
                                                               Nathan Lenton Ashley Brown
                                                               Like · Reply · 3 mins

                                                               Hatua Devon Lee Palalagi Tyler Melbourne Jacob Tuaeu Jonah Rakuraku
                                                               Like · Reply · 3 mins

                                                               Ivan Valencia David sin mucho verboo
                                                               See Translation
                                                               Like · Reply · 3 mins

                                                               Paige Mundo Gerald Mantanona Carolin Dietl
                                                               Like · Reply · 3 mins

                                                               Emerald Reid Sefa Pule
                                                               Like · Reply · 3 mins

                                                               Briann Hairston Maeve Estrada Blake Fisher
                                                               Like · Reply · 3 mins

                                                               Brock Ogden Jeremy Craft
                                                               Like · Reply · 3 mins
                                                               Aldegundo Rios Nallely Erick Rios watch that hoe
                                                               Like · Reply · 3 mins



                                                                                                                                    TMPID00064
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 56 of 65 Page ID #:228

                                                         Tailor Franklin Tailor Franklin
                                                         Like · Reply · 3 mins

                                                               Bobby Grimes Christian White
                                                               Like · Reply · 3 mins
                                                               Breanna Lorenz Daniel Lorenz
                                                               Like · Reply · 3 mins

                                                               Daniel Moore Aaron Richardson Zachary Richardson Spencer Richardson
                                                               Daniel Moore lol
                                                               Like · Reply · 3 mins

                                                               Bianca Carr Kim Kandt Carr
                                                               Like · Reply · 3 mins
                                                               Grant Richards Krista Adkins Ethan Richards
                                                               Like · Reply · 3 mins

                                                               Imani Smith Mel Smith lets watch this tomorrow
                                                               Like · Reply · 3 mins
                                                               Aaron Judge Timothy Smyton
                                                               Like · Reply · 3 mins

                                                               Rocio Gorgonio Liz Varela
                                                               Like · Reply · 3 mins
                                                               Ryan Gordon We don't have to go to the movies Kelly Mac Ryan MacGilvray
                                                               Like · Reply · 3 mins
                                                               Hannah Truax Adrianna Guyaux
                                                               Like · Reply · 3 mins
                                                               Mary Angelita Thompson Christian Thompson Kirsten Thompson
                                                               Like · Reply · 3 mins

                                                               Jessica Vera Julio C. Castro Jesus Villavicencio Jessica Vera
                                                               Like · Reply · 3 mins
                                                               Shaitann Wright Seventh Burgeon
                                                               Like · Reply · 3 mins
                                                               Sam Tynan James Macleod
                                                               Like · Reply · 3 mins
                                                               Antonio Preciado Salvador Gonzalez Jose Gomez Miguel Gomez­Preciado
                                                               See Translation
                                                               Like · Reply · 3 mins
                                                               Derek Parks Jason Louis Spardella
                                                               Like · Reply · 3 mins

                                                               Dakota Haggerty Jacob Powell
                                                               Like · Reply · 3 mins
                                                               Julee Ayers Matt
                                                               Like · Reply · 3 mins
                                                               Yassir Montoya Sergio Marmolejo
                                                               Like · Reply · 3 mins

                                                               Corey Hinchey bob bob
                                                               Like · Reply · 3 mins
                                                               Jason Boston Derek, here you go.
                                                               Like · Reply · 3 mins

                                                               Slade Hermanator Adriana Fritsch
                                                               Like · Reply · 3 mins

                                                               Jake Finnon Rebecca Jane Jones
                                                               Like · Reply · 3 mins

                                                               Elyssa Marie Selina Mounts
                                                               Like · Reply · 3 mins

                                                               Eric Boolsesh Ward Freddie Boolerjack Curtis
                                                               Like · Reply · 3 mins

                                                               D.j. Moore Caleb Wiggins
                                                               Like · Reply · 3 mins
                                                               Joseph HottNess Andrew
                                                               Like · Reply · 3 mins

                                                                                                                                 TMPID00065
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 57 of 65 Page ID #:229

                                                         Jordan Revels Elayna Green
                                                         Like · Reply · 3 mins

                                                               Obai Sadek Lawrence Alphonse
                                                               Like · Reply · 3 mins

                                                               William Hutchison Yes
                                                               Like · Reply · 3 mins
                                                               Souksanh Phoummavong Matthew Bounnak Jeffrey Phoummavong
                                                               Like · Reply · 3 mins

                                                               Blu Shaw Daniel Ludford
                                                               Like · Reply · 3 mins
                                                               Nicole Godfrey Cory James Bessell
                                                               Like · Reply · 3 mins

                                                               Chelsey Hanson Matt Cee
                                                               Like · Reply · 3 mins

                                                               Holly Wykert 20th Century Fox Marvel Stan Lee
                                                               Like · Reply ·    2 · 3 mins
                                                               Breanna Lorenz Jarrad Manning
                                                               Like · Reply · 3 mins

                                                               Evan Spera Jack Mirabito Zak SandersMatt Lawrence here ya go
                                                               Like · Reply · 3 mins
                                                               Ian Taula Jono Taula
                                                               Like · Reply · 3 mins
                                                               Douglas Garcia Ismael Ruan
                                                               Like · Reply · 3 mins

                                                               Juan Cruz Becks Bend
                                                               Like · Reply · 3 mins
                                                               Shawn Warren Brown Nairda Zias
                                                               Like · Reply · 3 mins
                                                               Eddie Shead Kimberly Shead why couldn't I see this earlier
                                                               Like · Reply · 3 mins
                                                               Emily Brookes Charlotte Brookes
                                                               Like · Reply ·    1 · 3 mins
                                                               Arron R. May Christian Brown
                                                               Like · Reply · 3 mins
                                                               Trina Marie Louke Steven Louk
                                                               Like · Reply · 3 mins
                                                               Catalina Gutierrez El'Erickk Montañez 
                                                               Like · Reply · 3 mins

                                                               Amanda Gillespie Kevin Jones
                                                               Like · Reply · 3 mins
                                                               Brendan VanHouten Why is this here? Is it not coming out on dvd?
                                                               Like · Reply · 3 mins
                                                               Blu Shaw Declan Cassidy
                                                               Like · Reply · 3 mins

                                                               Jamie­Leigh Harrison Josh Baah
                                                               Like · Reply · 3 mins
                                                               Matthew Duffiney Derek Reiman
                                                               Like · Reply · 3 mins

                                                               Catalina Gutierrez Aidee G Mnz
                                                               Like · Reply · 3 mins
                                                               Troy De Jesus Klarissia Hardy
                                                               Like · Reply · 2 mins

                                                               Nina Trankina Christina Psihountas Andrew Eisenhart
                                                               Like · Reply · 2 mins

                                                               Jesus Maldonado Jackie Estrada I couldn't find your comment but I think we
                                                               should just watch it at the movies lol
                                                               Like · Reply ·    1 · 2 mins
                                                                    Jackie Estrada Haha i know all i put was that we could just watch it here
                                                                                                                                      TMPID00066
https://www.facebook.com/trevon.franklin.33?fref=photo                                                                                             56/64
2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 58 of 65 Page ID #:230
                                                              but of coursee i was jk. This would be our last option 
                                                              Like · Reply · Just now

                                                               Write a reply...


                                                         Cynthia Barrera Antonio Toocool
                                                         Like · Reply · 2 mins

                                                         Denzel Allen The one movie worth paying for. Smh.
                                                         Like · Reply ·    1 · 2 mins

                                                         Josh Snelling Dan Smith Rob Shutt Jack Breckell Andy Hartley­Bingle Ryan
                                                         Dawes
                                                         Like · Reply · 2 mins

                                                         Sean Folden Awesome
                                                         Like · Reply · 2 mins

                                                         Ethan Power Cameron Forbes­Perry wtf
                                                         Like · Reply · 2 mins
                                                         Aimee LoRusso Ryan Massonneau
                                                         Like · Reply · 2 mins

                                                         Ben Maher Kobe Harris
                                                         Like · Reply · 2 mins
                                                         Kirsten Osborne Kevin Nguyen
                                                         Like · Reply · 2 mins

                                                         Josh Berry David Copher
                                                         Like · Reply · 2 mins
                                                         Annette Louise Bateman Brett Arkwright
                                                         Like · Reply · 2 mins
                                                         Brian Ugalde Sucks for the people who paid 
                                                         Like · Reply · 2 mins

                                                         Harry BearCrüe Riggs Nikk BearCrüe Heslop
                                                         Like · Reply · 2 mins
                                                         Natalia Green This is actually really shitty to do and they're gonna get so fuckin
                                                         sued Jamin Loveless Daniel Green
                                                         Like · Reply ·    1 · 2 mins
                                                         Peter Wilken Anthony Gallo Fabian Ceballos
                                                         Like · Reply · 2 mins
                                                         Joshua Sleep Victoria Cini Tommy John
                                                         Like · Reply · 2 mins
                                                         Anyanwu Wrek P Carter Yessssssssssssss
                                                         Like · Reply · 2 mins
                                                         Mardoche Kitenge This is too far                Hervé Ndongala Dan Badibanga
                                                         Blanchard Ndongala
                                                         Like · Reply · 2 mins
                                                         Alasdair MacMillan Alistair Moffat full film
                                                         Like · Reply · 2 mins

                                                         JP Torres­Dominguez Nigga Lluvia Dominguez
                                                         Like · Reply · 2 mins
                                                         Benny Ortiz Boot leg I mean boots goes in feet        hahahahahah
                                                         Like · Reply · 2 mins
                                                         Siloam Moon Zack King
                                                         Like · Reply · 2 mins

                                                         Ben Welker Mohamed Judeh
                                                         Like · Reply · 2 mins

                                                         Stephanie Springer Ryan Michael Sebastian
                                                         Like · Reply · 2 mins

                                                         Potts Sean Tatiana Foerster here you go
                                                         Like · Reply · 2 mins

                                                         Ryan Larson Joseph Aaron Larson
                                                         Like · Reply · 2 mins

                                                         Brian Langston Brittni Smith
                                                         Like · Reply · 2 mins


                                                                                                                                  TMPID00067
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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 59 of 65 Page ID #:231

                                                         Zack Pratt Garrett Pratt Brandon Pratt
                                                         Like · Reply · 2 mins
                                                               Jeremiah Jordan Stephen Still
                                                               Like · Reply · 2 mins

                                                               Jerry DiFilippi Alex Bos
                                                               Like · Reply · 2 mins

                                                               Nas Shaukat Sarah Charlotte Maye
                                                               Like · Reply · 2 mins

                                                               Leah Prince Colten Butler
                                                               Like · Reply · 2 mins
                                                                    Leah Prince Yay another movie night now with the same movie
                                                                    Like · Reply · 2 mins

                                                                     Write a reply...


                                                               Aiza Malik WHAT Komal Usman
                                                               Like · Reply · 2 mins

                                                               U.B. Mendoz Devin Basiliere
                                                               Like · Reply · 2 mins
                                                               Joseph Aaron Laura Elisabeth Kelly Aaron           
                                                               Like · Reply · 2 mins
                                                               Jordan Doyle­Moxham Jay Higgins
                                                               Like · Reply · 2 mins
                                                               Seni Tee Flakaa Pineda una movie completa
                                                               See Translation
                                                               Like · Reply · 2 mins
                                                               Cianna Kay Gwizdala Heather Knoellinger
                                                               Like · Reply ·    1 · 2 mins
                                                               Maritza Pinto Selena SophiaPorsche Kevin Jordan Stephan Armando When
                                                               you can't get in because you're not 17
                                                               Like · Reply ·    2 · 2 mins
                                                               Michael Ciufo Jr. Mike Ciufo
                                                               Like · Reply · 2 mins
                                                               Harley Epps Mitchell Dobbins
                                                               Like · Reply · 2 mins
                                                               Guillermo Sanchez Manuel Rico Miguel Rico
                                                               Like · Reply · 2 mins
                                                               John Laney Or pay to watch it. Losers
                                                               Like · Reply · 2 mins
                                                               Kaitlin Ashleigh Tennison Damian
                                                               Like · Reply · 2 mins

                                                               Jerry DiFilippi William Ladley
                                                               Like · Reply · 2 mins
                                                               Andrew Willis Longmate Christopher Grizzly Cole
                                                               Like · Reply ·    1 · 2 mins

                                                               Nancy Seanez Mannie Guerrero lmfao
                                                               Like · Reply · 2 mins
                                                               Roger Mendez Jonnathan Joseph
                                                               Like · Reply · 2 mins
                                                               Jordan Revels Vera Anne Brown
                                                               Like · Reply · 2 mins

                                                               Francine E. Torres Marcus Orozco
                                                               Like · Reply · 2 mins
                                                               Zikret Esmic Gabriel Grégoire
                                                               Like · Reply ·    1 · 2 mins

                                                               Dylan Michael Torres Shane Dooley
                                                               Like · Reply · 2 mins

                                                               Ross Henderson Dylan McHutchison
                                                               Like · Reply · 2 mins

                                                                                                                                  TMPID00068
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                                                 Filed 09/12/18 Page 60 of 65 Page ID #:232
                                                          Dylan McHutchison Did thru record that way a baked tattie
                                                          Like · Reply · 1 min

                                                              Ross Henderson Hink so
                                                              Like · Reply · Just now

                                                               Write a reply...


                                                         Josue Palacios Sami Trujillo
                                                         Like · Reply · 2 mins
                                                         Katrina Zapanta Graysen Carlson
                                                         Like · Reply · 2 mins

                                                         Lacy Miensma Chelsea Luna
                                                         Like · Reply · 2 mins
                                                         Talela Palometa Joey Rasake still wanna watch dead pool?
                                                         Like · Reply · 2 mins

                                                         Ricky Sanchez Gary Puckhaber
                                                         Like · Reply · 2 mins

                                                         Geoffrey Suh­dude Leaudais Brighton Fma Arnot
                                                         Like · Reply · 2 mins

                                                         Gabrielle Marie Pagan­Macias Troy Fletcher
                                                         Like · Reply · 2 mins
                                                         Dakota John Lawson Trayka Renee Northern
                                                         Like · Reply · 2 mins
                                                         Tray J Neal Mason D. Drobnick
                                                         Like · Reply · 2 mins
                                                         Holly Wykert CHIMICHANGAS! CHIMICHANGAS ALL AROUND! ON ME!
                                                         Like · Reply · 2 mins
                                                         Dean Soria Dean Soria .. so I could watch it later! Haha
                                                         Like · Reply · 2 mins
                                                         Tom Coleman Jeffrey Aaron
                                                         Like · Reply · 2 mins
                                                         Alex Carter Follow
                                                         Like · Reply · 2 mins
                                                         Damir Shaqur Davis Rockey Warren this shit it's wild niggas put bootleg on the
                                                         book 
                                                         Like · Reply · 2 mins
                                                         David Alvarado Lindsey Alvarado
                                                         Like · Reply · 2 mins

                                                         Nicola Boulton James Brown
                                                         Like · Reply · 2 mins
                                                         Blake Lightfoot Scott Prioste
                                                         Like · Reply · 2 mins
                                                         Nelson A Cintron Aj Smurk Natasha Rivera
                                                         Like · Reply · 2 mins

                                                         Joseph IV Lovett A1
                                                         Like · Reply · 2 mins

                                                         Junior Rios Blwn Bullet
                                                         Like · Reply · 2 mins

                                                         Jazmine Ramirez JuJu Sun
                                                         Like · Reply · 2 mins

                                                         Jay Russell Lmfao !
                                                         Like · Reply · 2 mins

                                                         Brianna Belmonte Yoooo Tiffany Cicala wanna watch it again lmao dead pool
                                                         n chill?????
                                                         Like · Reply · 2 mins

                                                         Long Live Dkb Buck Long Live Dkb Buck
                                                         Like · Reply · 2 mins
                                                         Freddy Silva Jose Larios
                                                         Like · Reply · 2 mins


                                                                                                                              TMPID00069
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                                                 Filed 09/12/18 Page 61 of 65 Page ID #:233

                                                         Tyler Earley Shelby Lynne Edmeads we don't need that lady telling us we need are
                                                         ID to get in 
                                                         Like · Reply · 2 mins

                                                               Kimberly Donovan Rebekah Lyzette
                                                               Like · Reply · 1 min

                                                               Jose El Chivo Quintero Mauricio Aguilar
                                                               Like · Reply · 1 min
                                                               Mike LaShele Hernandez Alyssa Colette
                                                               Like · Reply · 1 min

                                                               Nick Pasciak Tony Reid bored at work?
                                                               Like · Reply · 1 min
                                                               Smashlyfe Verse Dis is outta line
                                                               Like · Reply · 1 min

                                                               Dylan General Luke Norman
                                                               Like · Reply · 1 min
                                                               Andrew Francois John King
                                                               Like · Reply · 1 min

                                                               Miguel Castro Juarez
                                                               Like · Reply · 1 min

                                                               Felipe Garcia Saybien Grey
                                                               Like · Reply · 1 min
                                                               Santino Giovanni Greco Kieran Farrelly Rhys Liam Thomason Bradley Bourke
                                                               Shane Finnegan
                                                               Like · Reply · 1 min
                                                               Luke Mcdowall Conor Steele Connor Gilroy
                                                               Like · Reply · 1 min
                                                               Roisaen Garcia Nancy Gomez Zulma Gomez Jimenez Rick Luna Sal Luna
                                                               nember the days we bought bootlegged stuff from the man in front of superior?
                                                               Like · Reply · 1 min
                                                               Ti Akens Branden Dross lol here you go
                                                               Like · Reply · 1 min
                                                               Kim Parker­Bell King Steele now your kids can watch it at home lol
                                                               Like · Reply ·    1 · 1 min
                                                               Gehrig Butler Plug in to the tv tonight? Kaylin Gochanour
                                                               Like · Reply · 1 min
                                                               Zach Baxter Shane Newbery
                                                               Like · Reply · 1 min

                                                               Markesha Sjmomma Kierra Shaw
                                                               Like · Reply · 1 min
                                                               Blair Edgerly Quincy Cotton here it is
                                                               Like · Reply · 1 min

                                                               Jay Russell Roger Wilson now u can watch it
                                                               Like · Reply · 1 min
                                                               Ariel Alejandro Campos Samaj Vassar
                                                               Like · Reply · 1 min
                                                               Jeremy Glenn Bill Ballard
                                                               Like · Reply · 1 min

                                                               Keifer Thorne Jack Marx
                                                               Like · Reply · 1 min
                                                               Autumn Monfre Cody Kaepernik
                                                               Like · Reply · 1 min

                                                               Kyle McKenzie Lance Mckenzie
                                                               Like · Reply · 1 min

                                                               Drake MacDonald Keita Foley ­ Tanaka Ian Predham Bryce Gouthro Nathan
                                                               Yetman
                                                               Like · Reply ·    1 · 1 min

                                                               Jorge Luis Lopez Kassandra Deharo
                                                               Like · Reply · 1 min


                                                                                                                                    TMPID00070
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                                                 Filed 09/12/18 Page 62 of 65 Page ID #:234

                                                         Dennis Allen Damarrio Miles im finna watch it right now    ὠ
                                                         Like · Reply · 1 min
                                                               Kristin Turner Bryan Turner
                                                               Like · Reply · 1 min

                                                               Chris Short Peter Osborne Samantha Wright
                                                               Like · Reply · 1 min
                                                               Ellis Thomas Daniel Lewis Ethan Condon Jack Skinner Dan Crocker
                                                               Like · Reply · 1 min

                                                               Andrew Coleman Andrew Coleman
                                                               Like · Reply · 1 min

                                                               Chris Alvarado Angel Serrano Jr. Your welcome
                                                               Like · Reply · 1 min
                                                               Anthony Pockets Dotterer Matt Pfautz Carl Weikel I ain't the only one lol
                                                               Like · Reply · 1 min

                                                               Autumn Rose Captain Cole Cantu
                                                               Like · Reply · 1 min

                                                               Catalina Gutierrez Latisha Atencio
                                                               Like · Reply · 1 min

                                                               Trevor Edwards Maurice Jacobs II
                                                               Like · Reply · 1 min
                                                               Kodi Edwards Matthew Edwards
                                                               Like · Reply · 1 min
                                                               Mathieu Paradis Nelson Rajotte Jean­Daniel Mathieu
                                                               Like · Reply · 1 min

                                                               Catalina Gutierrez Serina Atencio
                                                               Like · Reply · 1 min
                                                               Bryson Clark Aaron Justice
                                                               Like · Reply · 1 min

                                                               Luis Vargas Ke'Marh Gotti
                                                               Like · Reply · 1 min
                                                               Jackson Groves Hamish Jennett Nathan Clout
                                                               Like · Reply · 1 min
                                                               Shanna Leigh Mawson Benjamin Mawson Callum Mawson Dave Mawson
                                                               Like · Reply · 1 min
                                                               Nick Johnston Sarah Klotz
                                                               Like · Reply · 1 min

                                                               EJ Labro Jane Laggui
                                                               Like · Reply · 1 min
                                                               Teofilo R Jr Dona Jay Mills
                                                               Like · Reply · 1 min

                                                               Logan Salas Kevin Staton
                                                               Like · Reply · 1 min
                                                               Mike Lam Kelsea­Ann Lam look dead pool
                                                               Like · Reply · 1 min
                                                               Joel Jhawk Cooper Ronald Cooper lol
                                                               Like · Reply · 1 min

                                                               Alberto Torres Davian Rasool Pedro Perez Zerek Eschleman Seth Alexander
                                                               Like · Reply · 1 min

                                                               Jennifer Rose Huff Tyler Mack
                                                               Like · Reply · 1 min

                                                               Brant Jacobs Paul Deckard Bryan Gugliuzza Josh Bergstrom
                                                               Like · Reply · 1 min

                                                               Anthony Holmes Jr Danielle Holmes
                                                               Like · Reply · 1 min

                                                               Jacob Romero Joseph Romero Joseph Romero Joseph Romero Joseph
                                                               Romero
                                                               Like · Reply · 1 min


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                                                 Filed 09/12/18 Page 63 of 65 Page ID #:235

                                                         Jacqueline Miller Jourdyn Johnson bruh!!!!
                                                         Like · Reply · 1 min

                                                               Monti Patron Simone Hunter
                                                               Like · Reply · 1 min

                                                               Brian Cv Bui "Good audio"
                                                               Like · Reply · 1 min

                                                               Chris Woods Dave Brown
                                                               Like · Reply · 1 min
                                                               Mark Ruiz Thank you my good sir
                                                               Like · Reply · 1 min

                                                               Donny Hughes Iziah Taylor here you go son watch the full movie
                                                               Like · Reply ·    1 · 1 min

                                                               Pheng Xiong Ricky Vang
                                                               Like · Reply · 1 min
                                                               Dayna Torgerson Cameron Nealon Bryce Fulton Kathy Krendick lol
                                                               Like · Reply · 1 min

                                                               Ary Perez Tony Perez u can watch it
                                                               Like · Reply · 1 min
                                                               Steve Lemmon Tommy Lemmon
                                                               Like · Reply · 1 min

                                                               Shawn Ballentine Eric Judge
                                                               Like · Reply · Just now
                                                               Steffan Hymas Lando Walker
                                                               Like · Reply · Just now
                                                               Irving Le Badelt Alex Garcia Christina Valle
                                                               Like · Reply · Just now
                                                               Henry Fob Jacky He Eric Sze
                                                               Like · Reply · Just now
                                                               Teryn Kort Moe Lamar
                                                               Like · Reply · Just now
                                                               Bekka Luna Reno Olague
                                                               Like · Reply · Just now
                                                               Kyle Richards Nicole Craig
                                                               Like · Reply ·    1 · Just now

                                                               Chris Parker Brandon Mullens Johnny White
                                                               Like · Reply · Just now
                                                               Kay Marie It's so dumb don't waste your money corny as hell. Only marvel
                                                               movie I cannot stand
                                                               Like · Reply · Just now
                                                                    Joshua Morgan Dead pool does not approve
                                                                    Like · Reply · Just now

                                                                     Write a reply...


                                                               Jasmine Walls who did this bs
                                                               Like · Reply · Just now
                                                               Zachary Harrold Jeremy Humbard
                                                               Like · Reply · Just now
                                                               Will Mercier LeeAnn Baker
                                                               Like · Reply · Just now

                                                               Natalie Pope Georgia Taylor
                                                               Like · Reply · Just now

                                                               Holly Wykert 20th Century Fox Marvel Stan Lee
                                                               Like · Reply · Just now

                                                               Alfonso Morrell Alfonso Morrell
                                                               Like · Reply · Just now

                                                               Tristin Bashmore Jon Blaze Nick Drohan
                                                               Like · Reply · Just now


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2/22/2016   Case 2:17-cr-00206-JAK Document 48-1 Tre­Von M. King
                                                 Filed 09/12/18 Page 64 of 65 Page ID #:236

                                                         Nick Alves Jonathan F Amaral Will Rosado Jason Marty
                                                         Like · Reply · Just now
                                                              Wallace Ramirez Katherine N. Reyes
                                                              Like · Reply · Just now

                                                              Mike Purgatorio Mark Hamilton
                                                              Like · Reply · Just now

                                                              Justin Morehouse Stephen Frenette and we wasted 10.50..
                                                              Like · Reply · Just now
                                                              Ryan Chadwick Mikey
                                                              Like · Reply · Just now

                                                              Briana Ibanez Sarah Thor Manuel Guisar
                                                              Like · Reply · Just now

                                                              Holly Wykert




                                                              Like · Reply · Just now
                                                              Jonathan Calderon Laury Calderon
                                                              Like · Reply · Just now
                                                              Jake Burns Jack Wendling
                                                              Like · Reply · Just now
                                                              Spencer Choi Blaire Michelin Drew VanRanden Mike Traylor
                                                              Like · Reply · Just now

                                                                Write a comment...



                                                                Tre­Von M. King shared Booty had me like's photo.
                                                                February 20 at 11:09am · 




                                                         Booty had me like                                               Like Page
                                                         February 20 at 10:18am · 

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                                                 Filed 09/12/18 Page 65 of 65 Page ID #:237
                                                           LMAO


                                                            Like            Comment              Share

                                                         150 people like this.

                                                         View 2 more comments
                                                                Stephan Hamil No chizzzz­illll
                                                                Like · Reply ·    1 · 9 hrs

                                                                Rob Hendrix Brenden Welshans
                                                                Like · Reply ·    1 · 4 hrs

                                                                Tiffany Simpson Icey Richardson don't let this happen to you!    ὠ
                                                                Like · Reply ·    1 · 4 hrs

                                                                           Tiffany Simpson replied · 2 Replies · 4 hrs

                                                                Stacey White Corey Anthony
                                                                Like · Reply ·    1 · 50 mins

                                                                           Corey Anthony replied · 1 Reply


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